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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK




Adventist Health System Sunbelt Healthcare   Case No. 1:23-cv-07031
Corporation,
                                             Complaint
                   Plaintiff,
                                             Demand for Jury Trial
       v.

MultiPlan, Inc.,

                   Defendant.
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I.      Introduction and Nature of the Action

        1.       This case seeks to redress Plaintiff Adventist Health System Sunbelt Healthcare

Corporation’s (“AHS”) injuries caused by a multi-year, ongoing conspiracy among competing

commercial health insurance payors to reduce the reimbursements they pay to healthcare providers

for out-of-network healthcare services. This conspiracy was organized and orchestrated by

Defendant MultiPlan, Inc. (“MultiPlan”) and embodied in a series of written agreements between

MultiPlan and virtually every other significant health insurance payor in the United States.

MultiPlan has admitted (a) that these agreements exist and (b) that it competes against the other

health insurance payors with whom it has entered into these agreements. Therefore, MultiPlan is

jointly and severally liable per se for all of the damages caused by those agreements.

        2.       AHS is one of the largest non-profit hospital systems in the country, operating 50

hospitals in nine states and treating over 5.7 million patients every year. Some of AHS’s patients

are entirely “in-network,” meaning that all medical services they receive are covered, less a co-

payment or co-insurance obligation, by a commercial healthcare payor.1 A substantial portion of

AHS’s patients, however, are “out-of-network” for at least some of the services they receive from

AHS.

        3.       Emergency care is a common example of these out-of-network services. Every

day, patients arrive at the emergency rooms of AHS’s hospitals with serious and often life-

threatening conditions. Many of these patients will arrive at an AHS hospital because, due to

location, expertise, or other factors, AHS is best-positioned to provide urgent and high-quality

care, even though AHS is outside the patient’s health insurance network. In such situations, AHS’s



1
 As used in this Complaint, unless otherwise specified, a health insurance “payor,” “plan” or “network” refers to
any payor of commercial health insurance claims, including HMOs, PPOs, TPAs, leased networks, and “narrow”
networks.
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doctors, nurses, and specialists provide the life-sustaining and life-saving medical care the patient

requires, regardless of the patient’s insurance coverage. This care runs the gamut, from setting a

broken bone, to performing emergency surgery on a gunshot victim, to resuscitating and stabilizing

a patient in cardiac arrest. After it has provided that care, AHS submits a claim to the patient’s

health insurance company seeking reimbursement for the out-of-network services provided to the

patient.

           4.      MultiPlan is one such health insurance payor.       MultiPlan operates multiple

nationwide networks of “preferred” healthcare providers, known as Preferred Provider

Organization (“PPO”) networks. It recruits healthcare providers, negotiates reimbursement rates

with them, and sets certain quality and credentialing expectations for the healthcare providers in

its network. Then, MultiPlan sells access to its PPO networks as part of a healthcare insurance

plan.

           5.      Prior to the conspiracy at issue in this case, MultiPlan and competing healthcare

insurance payors made independent decisions about how much they would pay for out-of-network

medical services.       Each insurance company had a competitive incentive to pay reasonable

reimbursement amounts to ensure healthcare providers would continue to provide out-of-network

services to their insureds. Increasingly, however, these insurance companies began viewing their

obligation to pay for the out-of-network healthcare services provided to their subscribers as a “pain

point” and “major area of concern” that cut into their still-exorbitant profits.

           6.      Around 2006, MultiPlan began devising a scheme to address this “concern,” which

resulted in what it refers to as “MultiPlan 2.0.” Over the ensuing years, MultiPlan acquired a series

of companies that had developed “analytic” tools designed to “reprice” out-of-network claims

submitted by healthcare providers. “Reprice” is a euphemism. What these products really do—




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and what they are designed to do—is calculate a reimbursement amount for out-of-network

healthcare services that is far less than the insurance company would otherwise pay, and far less

than the healthcare provider’s claim for reimbursement.

        7.       MultiPlan was not content to only use these repricing tools to underpay out-of-

network claims submitted to its own PPO networks.2 It knew that if it was the only insurance

company engaging in aggressively low “repricing,” many out-of-network healthcare providers

would stop treating patients covered by MultiPlan’s PPO, forcing MultiPlan to abandon its

repricing scheme. MultiPlan thus set out to convince the rest of the healthcare insurance industry

to agree to use its repricing methodology to suppress payments from commercial insurers to

healthcare providers for out-of-network medical services.

        8.       MultiPlan began marketing its suite of repricing tools to its competitors as an “out-

of-network cost containment” solution. It held, and continues to hold, marketing events designed

to facilitate industry-wide agreement to use MultiPlan’s repricing methodology, including

“advisory board” meetings at luxury resorts and “road shows” where MultiPlan executives meet

with the executives of competing healthcare networks to discuss how well MultiPlan’s

methodology is suppressing out-of-network reimbursement payments and brainstorm ways to

make the scheme even more effective.               MultiPlan also issued secret “white papers” to its

competitors explaining how MultiPlan’s methodology suppresses claim reimbursement. And

MultiPlan directly communicated with competing commercial health insurance payors to solicit

those payors to join the conspiracy.

        9.       MultiPlan’s efforts to enlist its competitors in this scheme have been spectacularly

successful. By 2017, MultiPlan had reached agreements with nearly every other significant


2
  AHS is not seeking damages for claims that it submitted to MultiPlan’s PPO networks that MultiPlan repriced as
in-network claims.


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healthcare insurance payor in the United States to use MultiPlan’s repricing tools to collectively

suppress out-of-network reimbursements paid to healthcare providers.

       10.     MultiPlan’s scheme is straightforward. MultiPlan and competing payors agreed to

share their confidential, highly detailed claims data with MultiPlan in real time.        Further,

MultiPlan’s competitors agreed to the methodology by which MultiPlan would reprice their out-

of-network claims. Pursuant to this agreement, when a payor receives a provider’s claim for

reimbursement of out-of-network services, it sends the claim to MultiPlan, and MultiPlan uses its

repricing algorithm to generate a reimbursement amount that is far lower than the payor would

otherwise pay on the claim. MultiPlan then imposes the new price on the healthcare provider,

giving the provider only days to respond to the “repriced” claim. As a condition of accepting the

repriced claim, MultiPlan forces the healthcare provider to forego seeking reimbursement from

any other source—effectively locking in the harm caused by the collusive underpayment.

MultiPlan then takes a cut of the money that the payor withholds from the healthcare provider.

       11.     MultiPlan knows it can get away with acting, in the words of an analyst, “like a

mafia enforcer for insurers,” because virtually every commercial healthcare payor has agreed to

use its repricing methodology, leaving healthcare providers with no practical option but to accept

the “repriced” reimbursement amount that MultiPlan imposes. Indeed, MultiPlan has estimated

that healthcare providers accept the reimbursement amounts MultiPlan imposes for out-of-network

inpatient services 99.4% of the time. Even in the cases where MultiPlan offers to “negotiate,” that

negotiation is one-sided. MultiPlan knows that by bombarding healthcare providers with a

constant stream of “repriced” reimbursement demands, it is usually practically impossible for

healthcare providers to meaningfully negotiate or pursue dispute resolution with respect to

individual claims. Accordingly, any “negotiation” with MultiPlan starts from the position of




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MultiPlan’s collusive offer to radically underpay healthcare providers for their services, and

invariably ends with MultiPlan forcing the healthcare provider to capitulate to an extreme

underpayment.

        12.     The effects of MultiPlan’s horizontal repricing agreement with its competitors have

been dramatic. By 2020, MultiPlan was using its repricing tools to underpay 370,000 out-of-

network claims per day for over 700 health insurance companies, resulting in a total underpayment

of approximately $19 billion per year to healthcare providers.

        13.     MultiPlan and its Co-Conspirators say the billions of dollars they are withholding

from healthcare providers every year allow them to reduce patients’ healthcare costs. That is not

true. Since the outset of MultiPlan’s conspiracy, Americans’ health insurance costs have continued

to rise dramatically. The money that MultiPlan and competing payors withhold from healthcare

providers does not go to patients; it goes to insurance companies, their investors, and their

executives.

        14.     Thus, MultiPlan has created, and continues to orchestrate, an ongoing cartel

agreement with competing health insurance companies throughout the United States to bilk

healthcare providers of billions of dollars per year (the “MultiPlan Cartel”). MultiPlan’s conduct

is blatantly illegal. It is per se illegal for actual or potential competitors to fix the prices that they

will pay for services by agreeing on the method for calculating the offered repayment. AHS has

suffered damages due to the MultiPlan Cartel in an amount totaling hundreds of millions of dollars.

        15.     AHS has overwhelming direct evidence that MultiPlan has entered into these

agreements with its competitors. MultiPlan has admitted that it enters into repricing agreements

with competing commercial insurance payors in its filings with the Securities and Exchange

Commission (“SEC”) and state insurance commissioners. Other commercial payors have admitted




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that they have entered into repricing agreements with MultiPlan in sworn testimony at trial and

written communications with healthcare providers. While direct evidence of an agreement to

restrain trade is extremely rare in antitrust cases even after extensive discovery, it is present here

in spades.

        16.      Below is a representative example of such direct evidence. In this notice, MultiPlan

informed AHS that it had “contracted with” Cigna and that, as a result of that agreement, MultiPlan

was only offering to pay $1,131.63 for a $15,041.36 claim for out-of-network medical services—

a 92.5% underpayment. AHS has thousands of similar notices in which MultiPlan admits to

“contracting with” competing healthcare payors.3




        17.      As set forth below, AHS challenges the MultiPlan Cartel under three alternative

theories of liability pursuant to Section 1 of the Sherman Act. First, because MultiPlan is a



3
 Pursuant to federal law, AHS has redacted personally identifying healthcare information from this example. AHS
will provide an unredacted copy of this record to MultiPlan when an appropriate protective order is entered by the
Court.


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horizontal competitor with the other commercial health insurance payors participating in the

MultiPlan Cartel, its agreements with other health insurance payors to suppress and “reprice” out-

of-network reimbursements to healthcare providers are a horizontal restraint of trade and per se

violation of Section 1 of the Sherman Act.

       18.     Second, even if MultiPlan did not compete against the other health insurance payors

participating in the MultiPlan Cartel (which MultiPlan has repeatedly admitted to doing),

MultiPlan’s agreements with health insurance payors would still be a per se violation of Section 1

of the Sherman Act because, in the alternative, MultiPlan serves as the hub of a “hub-and-spoke”

conspiracy. The “spokes” of that conspiracy are the hundreds of agreements that MultiPlan has

entered into with health insurance networks to use MultiPlan’s repricing methodology. The “rim”

of the conspiracy is an agreement between the health insurance payors to use MultiPlan’s repricing

methodology rather than compete against each other and make independent decisions regarding

the reimbursement of out-of-network claims.

       19.     Third, even if MultiPlan was not the hub of a hub-and-spoke conspiracy, its

“repricing” agreements with other commercial health insurance companies would still be an

unreasonable restraint of trade under Section 1 of the Sherman Act because those agreements have

had, and continue to have, anticompetitive effects throughout the relevant market for

reimbursements of out-of-network healthcare services—as well as each relevant submarket for

reimbursements by a particular payor—with no redeeming procompetitive benefits.

II.    The Parties

       20.     Plaintiff AHS is a Florida non-profit corporation headquartered in Altamonte

Springs, Florida. Founded in 1973, AHS is the largest Protestant hospital system in the United

States and one of the largest not-for-profit health systems in the nation. AHS’s 50 hospitals include




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over 8,200 licensed hospital beds. AHS also has 1,200 outpatient settings. AHS provides medical

care to patients in hospitals and clinics located in Florida, Georgia, Colorado, Illinois, Kansas,

Kentucky, North Carolina, Texas, and Wisconsin.

       21.     Defendant MultiPlan, Inc. is a New York corporation. Its principal place of

business is located at 115 Fifth Avenue, 7th Floor, New York, NY 10003.

       22.     MultiPlan, Inc. is wholly owned by MultiPlan Holding Corporation.

       23.     The ultimate parent company of MultiPlan Holding Corporation is MultiPlan

Corporation. MultiPlan Corporation is a publicly traded entity.

       24.     In 2010, MultiPlan acquired Viant, Inc. (“Viant”), a healthcare cost management

company incorporated in Delaware and headquartered in Illinois.

       25.     In 2011, MultiPlan acquired National Care Network, LP and its affiliate National

Care Network, LLC, both healthcare cost management companies incorporated in Delaware and

headquartered in Texas.

       26.     In October 2020, Churchill Capital Corp. III and its related entities acquired

MultiPlan, Inc. and its related entities. Churchill Capital Corp. III is a special-purpose acquisition

company created to raise funds to take a private company public. It is incorporated in Delaware

and headquartered in New York. After completing the acquisition of MultiPlan, Inc. and its related

companies, Churchill Capital Corp. III changed its name to MultiPlan Corporation.

       27.     Unless otherwise specified, this Complaint refers to MultiPlan, Inc., MultiPlan

Holding Corporation, MultiPlan Corporation, MultiPlan, Inc., Churchill Capital III, Viant, Inc.,

Viant Payment Systems, Inc., National Care Network, LP, and National Care Network, LLC

collectively as “MultiPlan.”




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III.     Co-Conspirators

         28.   As set forth in this Complaint, the MultiPlan Cartel includes virtually all of the

major healthcare insurance payors in the United States, including the entities specifically identified

below.

         29.   Aetna, Inc. (“Aetna”) is a subsidiary of CVS Health Corporation. It is a Delaware

corporation that is headquartered in Hartford, Connecticut. Aetna is one of the largest commercial

health insurance payors in the United States. It has a commercial insurance network that pays in-

network and out-of-network claims from healthcare providers in all 50 states and the District of

Columbia. Aetna is the parent company, or otherwise affiliated or related company, to various

commercial health insurance plans and prescription drug plans that operate in the United States.

Those plans issue insurance or provide administrative services concerning healthcare claims in the

form of (1) fully insured commercial health insurance plans, (2) self-funded administrative service

only health plans, (3) hybrid-funded health plans, (4) Medicare Advantage plans, and (5) Medicaid

plans.

         30.   Elevance Health, Inc. (formerly known as Anthem, Inc.) (“Elevance”) is an Indiana

corporation with a principal place of business in Indianapolis, Indiana. Elevance is a member of

the Blue Cross and Blue Shield Association, a joint venture of insurance companies that work

together to offer their members access to a nationwide network of healthcare providers. Elevance

licenses certain trademarks and service marks from the Blue Cross and Blue Shield Association in

14 states: California, Colorado, Connecticut, Georgia, Indiana, Kentucky, Maine, most of

Missouri, Nevada, New Hampshire, parts of New York, Ohio, Virginia (except the Washington,

D.C. suburbs), and Wisconsin. Elevance is the parent company, or otherwise affiliated or related

company, to various commercial health insurance plans and prescription drug plans that operate




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in the United States. Those plans issue insurance or provide administrative services concerning

healthcare claims in the form of (1) fully insured commercial health insurance plans, (2) self-

funded administrative service only health plans, (3) hybrid-funded health plans, (4) Medicare

Advantage plans, and (5) Medicaid plans.

       31.     Centene Corporation (“Centene”) is a Delaware corporation with its principal place

of business in St. Louis, Missouri. Centene is the parent company, or otherwise affiliated or related

company, to various commercial health insurance plans and prescription drug plans that operate

in the United States. Those plans issue insurance or provide administrative services concerning

healthcare claims in the form of (1) fully insured commercial health insurance plans, (2) self-

funded administrative service only health plans, (3) hybrid-funded health plans, (4) Medicare

Advantage plans, and (5) Medicaid plans.

       32.     The Cigna Group (“Cigna”) is a corporation organized under the laws of the State

of Delaware, with its principal place of business in Broomfield, Connecticut. Cigna is the parent

company, or otherwise affiliated or related company, to various commercial health insurance plans

and prescription drug plans that operate in the United States. Those plans issue insurance or

provide administrative services concerning healthcare claims in the form of (1) fully insured

commercial health insurance plans, (2) self-funded administrative service only health plans, (3)

hybrid-funded health plans, (4) Medicare Advantage plans, and (5) Medicaid plans.

       33.     Health Care Service Corporation (“HCSC”) is organized as a mutual reserve

company under the laws of the state of Illinois with a principal place of business in Chicago,

Illinois. HCSC is the parent company, or otherwise affiliated or related company, to various

commercial health insurance plans and prescription drug plans that operate in the United States,

including in Illinois, Montana, New Mexico, Oklahoma, and Texas. Those plans issue insurance




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or provide administrative services concerning healthcare claims in the form of (1) fully insured

commercial health insurance plans, (2) self-funded administrative service only health plans, (3)

hybrid-funded health plans, (4) Medicare Advantage plans, and (5) Medicaid plans.

       34.     UnitedHealth Group Inc. (“UnitedHealth”) is a Delaware corporation with a

principal place of business in Minnetonka, Minnesota.           UnitedHealth has two divisions:

UnitedHealthcare, which provides health benefits plans, and Optum, which provides health

services, including pharmacy benefit manager services. UnitedHealth is a vertically integrated

healthcare enterprise with a portfolio of wholly owned subsidiaries comprising a massive

healthcare ecosystem. These subsidiaries include the largest commercial health insurance company

in the United States, UnitedHealthcare. UnitedHealthcare has a commercial insurance network

that pays in-network and out-of-network claims from healthcare providers in all 50 states and the

District of Columbia. UnitedHealth’s insurance plans issue insurance or provide administrative

services concerning healthcare claims in the form of (1) fully insured commercial health insurance

plans, (2) self-funded administrative service-only health plans, (3) hybrid-funded health plans, (4)

Medicare Advantage plans, and (5) Medicaid plans.

       35.     Humana Inc. (“Humana”) is a Delaware corporation with its principal place of

business in Louisville, Kentucky. Humana is the parent company, or otherwise affiliated or related

company, to various commercial health insurance plans and prescription drug plans that operate

in the United States. The plans issue insurance or provide administrative services concerning

healthcare claims in the form of (1) fully insured commercial health insurance plans, (2) self-

funded administrative service-only health plans, (3) hybrid-funded health plans, (4) Medicare

Advantage plans, and (5) Medicaid plans.




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       36.     Aetna, Elevance, Centene, Cigna, HCSC, UnitedHealth, Humana, and each

healthcare insurance company that has executed an out-of-network repricing agreement with

MultiPlan (the “Co-Conspirators”) has participated in the MultiPlan Cartel and performed acts and

made statements in furtherance of the conspiracy. MultiPlan is jointly and severally liable for all

of the acts and omissions of its Co-Conspirators whether named or not in this complaint.

IV.    Jurisdiction and Venue

       37.     This Court has subject matter jurisdiction over the federal antitrust law causes of

action pursuant to 28 U.S.C. §§ 1331 and 1337, as this action raises federal questions under Section

1 of the Sherman Act (15 U.S.C. § 1) and Sections 4 and 16 of the Clayton Act (15 U.S.C. §§ 15

and 26).

       38.     This court has personal jurisdiction over MultiPlan, whose principal place of

business is in New York. MultiPlan (a) is a New York domestic business corporation; (b) transacts

business throughout the United States, including in this District; (c) engages in an antitrust

conspiracy that was directed at and had a direct, foreseeable, and intended effect of causing injury

to the business or property of persons residing in, located in, or doing business throughout the

United States, including in this District. MultiPlan, directly through its divisions, subsidiaries,

predecessors, agents, or affiliates, continues to transact business in New York, including the

repricing, payment, and negotiation of out-of-network commercial health insurance claims and

operating a nationwide PPO network.

       39.     Venue is proper in this District pursuant to Section 12 of the Clayton Act, 15 U.S.C.

§ 22, and under the federal venue statute, 28 U.S.C. § 1391, because MultiPlan has its principal

place of business in New York, certain unlawful acts alleged in this action were performed in this

District, and these unlawful acts caused harm to interstate commerce in this District.




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V.     Interstate Commerce

       40.       MultiPlan’s activities as set out in this Complaint have substantially affected and

are within the flow of interstate commerce. Healthcare providers that are reimbursed by MultiPlan

and its Co-Conspirators, including AHS, provide services, goods, or facilities to persons who

reside in other states. In addition, MultiPlan operates a PPO throughout the United States. The

activities of MultiPlan, as described herein, were within the flow of, were intended to, and did

have direct, substantial, and reasonably foreseeable effects on the interstate commerce of the

United States.

VI.    Factual Allegations

       A.        The MultiPlan Cartel is a Horizontal Price-Fixing Conspiracy

       41.       The MultiPlan Cartel is a conspiracy between horizontal competitors to agree on a

common methodology for suppressing payments of insurance claims for out-of-network healthcare

services.

       42.       MultiPlan has entered into written agreements with hundreds of its horizontal

competitors—other commercial health insurance payors—to suppress and fix the reimbursement

of out-of-network claims submitted by healthcare providers to members of the MultiPlan Cartel.

Pursuant to these agreements, these horizontal competitors agree to share their confidential claims

data with MultiPlan in order for MultiPlan to use an agreed-upon repricing methodology to

suppress reimbursement payments.

                 i.     MultiPlan Is a Health Insurance Company That Directly Competes

                        With the Other Members of the MultiPlan Cartel

       43.       MultiPlan owns and operates several PPO health insurance networks.




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       44.     According to the Kaiser Family Foundation’s 2022 survey of employers, PPOs are

the most common type of employer-provided healthcare plan, covering almost half of all covered

employees in the United States.

       45.     A PPO is a healthcare plan that contracts with medical providers to establish

agreed-upon payment rates for the providers’ services. Subscribers to PPO plans can access any

healthcare provider in the PPO’s network at a reduced rate, but typically pay a greater portion of

a healthcare provider’s fee if they choose an out-of-network healthcare provider.

       46.     According to MultiPlan, it operates “the oldest and largest independent Preferred

Provider Organization (PPO) network” in the United States. Even as MultiPlan expanded its

business from PPO networks into analytic “repricing” tools, as described below, it continued to

operate its PPO networks. In 2022, it again claimed to operate “the largest primary PPO in the

nation.”

       47.     The reach of MultiPlan’s PPO networks is enormous. MultiPlan estimates that its

PPO networks have over 1.3 million healthcare providers under contract, encompassing

approximately “920,000 practitioners, 4,800 acute care hospitals and 87,000 ancillary facilities.”

       48.     MultiPlan’s “primary” PPO networks are intended to serve as insurers’ principal

in-house network of healthcare providers. The PHCS Network is MultiPlan’s flagship primary

PPO network. MultiPlan touts this network as the country’s “largest independent, nationwide

primary preferred provider organization.”

       49.     MultiPlan offers a number of other “primary” PPO networks to insurers with a

regional focus. HealthEOS and HealthEOS Plus Networks are MultiPlan’s primary regional PPO

networks in Wisconsin, with some coverage in bordering Michigan, Minnesota and Illinois. Beech




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Street Network is a regional PPO network serving Alaska, Nevada and Utah. AMN/HMN/RAN

Networks are MultiPlan’s regional commercial PPO networks in Arizona and Hawaii.

       50.       A wide variety of entities subscribe to MultiPlan’s “primary” PPO networks,

including private and public-sector employers, insurance companies, tribal entities, and union

benefit plans.

       51.       MultiPlan also offers “complementary” PPO networks.           These networks are

marketed as additions to pre-existing commercial health insurance networks. Through these

arrangements, MultiPlan provides competing insurance networks access to a “complementary”

PPO network in exchange for a fee. This expands the number of healthcare providers who are

effectively “in-network” for the insurance plans contracting with MultiPlan.

       52.       MultiPlan’s “complementary” PPO networks include MultiPlan Network, Beech

Street Network, and IHP Network.

       53.       MultiPlan makes money from each of these PPO networks by contracting with

insurers and others to permit their plan beneficiaries to use the medical providers who are signed

up with the networks.

       54.       All of MultiPlan’s PPO networks, regardless of their marketing, compete with other

commercial health insurance payors to secure contracts with medical providers. Other payors,

including members of the MultiPlan Cartel like Humana, UnitedHealth, HCSC, Cigna, Centene,

Elevance, and Aetna, also operate their own PPO networks. For instance, Aetna offers Aetna Open

Choice PPO plans, Elevance and other Blue Cross Blue Shield entities offer Blue Choice PPO

plans, UnitedHealth offers UnitedHealthcare Options PPO plans. These PPO plans rely on PPO

networks that directly compete with MultiPlan’s PPO networks to obtain provider contracts.




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       55.     In its filings with the SEC, MultiPlan admits that its PPO networks compete against

other commercial health insurance networks. For example, in an Annual Report filed with the

SEC on March 1, 2023, MultiPlan states: “We also compete with PPO networks owned by our

large Payor customers[.]” MultiPlan’s 2021 and 2022 Annual Reports contain similar admissions.

       56.     In an August 2020 presentation, MultiPlan’s then-Chief Revenue Officer Dale

White explained that MultiPlan “compete[s] with regional PPOs . . . and network aggregators[.]”

       57.     MultiPlan’s payor competitors offer PPO networks that compete against

MultiPlan’s PPO networks on the basis of provider reimbursement and other factors. For example,

Aetna, Elevance, Centene, Cigna, HCSC, UnitedHealth, Humana, Kaiser Permanente, Guidewell,

Highmark, Molina, Blue Cross Blue Shield of Michigan, Blue Cross of North Carolina, Blue Cross

and Blue Shield of Alabama, Blue Cross Blue Shield of Massachusetts, Independence Health

Group, Bright Health, CareFirst, Blue Shield of California, Regence, and Horizon Blue Cross.

       58.     MultiPlan operates its PPO network just as competing health insurance networks

operate theirs. It signs Participating Professional Group Agreements with physicians groups and

Participating Facility Agreements with hospitals and surgical centers. It ensures that participating

healthcare providers meet certain credentialing requirements, issues administrative handbooks to

participating providers, audits the billing and medical records of participating providers, and

conducts on-site reviews of participating providers’ offices to ensure that they are complying with

the terms of their agreements with MultiPlan. It also enters into agreements with healthcare

providers regarding the amount that the healthcare providers will be paid for providing services to

patients in MultiPlan’s network.

       59.     MultiPlan holds licenses to operate its PPO network in various states. For example,

in New Jersey, MultiPlan and its subsidiaries, Private Healthcare Systems, Inc. and Beech Street




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Corporation, are certified to operate as an Organized Delivery System (“ODS”) (an ODS is a legal

entity that includes PPOs). Likewise, South Dakota lists MultiPlan, Private Healthcare Systems,

and Beech Street Corporation as managed care contractors. In Washington state, MultiPlan is

registered as a Healthcare Benefit Plan Manager, which is an entity providing services or acting

on behalf of a health carrier or employee benefits program.

       60.     MultiPlan also holds certifications and accreditations from healthcare insurance

industry organizations. For instance, since August 2001, MultiPlan has held a certification for

credentialing and recredentialing from the National Committee for Quality Assurance (“NCQA”),

an industry association that provides independent health plan accreditations. Similarly, MultiPlan

has received an accreditation for healthcare insurance network credentialing from the Utilization

Review Accreditation Commission (“URAC”), an organization that credentials health plans,

pharmacies, and provider organizations.

       61.     MultiPlan’s executives have been forced to admit under oath that MultiPlan is a

health insurance payor. As Marjorie G. Wilde, Senior Counsel for MultiPlan, explained in a

declaration filed in Jonathan Hott, M.D. v. MultiPlan, Inc., Case No. 1:21-cv-02421-LLS

(S.D.N.Y. Aug. 15, 2022) (Dkt. 38-2):

       MultiPlan provides healthcare cost management services and operates a network-
       only preferred provider organization (“PPO”) that does business nationwide by
       contracting, on the one hand, with healthcare providers, such as hospitals,
       physicians, physician groups and ancillary providers (“Network Agreements”).
       These contracted providers agree to give discount off of medical services rendered
       to the beneficiaries of clients of MultiPlan. . . . On the other hand, MultiPlan also
       contracts with its clients, which include health insurance carriers, health
       maintenance organizations, self-funded health plans, third party administrators, and
       other third-party payors that have members and beneficiaries who receive medical
       services from the provider network assembled by MultiPlan.

Id. ¶¶ 3–4.




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       62.      Other health insurance companies recognize that MultiPlan is a competing network.

During a trial, John Haben, the former Vice President of Networks at UnitedHealthcare, testified

that “MultiPlan has the largest network in the country. . . . They have a broad network. Broader

than United.”

                ii.    “MultiPlan 2.0”:     MultiPlan Acquires Claims Repricing Tools To

                       Suppress Out-Of-Network Reimbursements

       63.      Starting in 2006, MultiPlan embarked on a strategy it has called “MultiPlan 2.0” by

adding a new segment to its existing PPO networks, which it refers to as “analytics.” MultiPlan

describes its analytics-based services as “Data-driven, customized healthcare cost management

solutions.” As described further below, MultiPlan’s analytic services offer insurance competitors

an agreed-upon methodology to suppress payments to healthcare providers under the guise of a

“fair” and “defensible” repricing scheme.

       64.      MultiPlan largely built its analytics business through acquisitions.     In 2009,

MultiPlan acquired Viant from Welsh, Carson, Anderson & Stowe. U.S. antitrust regulators

expressed concerns regarding this acquisition. The U.S. Department of Justice opened a merger

investigation and issued a “second request” for several categories of detailed information

concerning the transaction.

       65.      In 2011, MultiPlan acquired National Care Network LLC (“NCN”) for $50 million,

effectively purchasing NCN’s Data iSight repricing tool. According to MultiPlan’s former CEO,

Data iSight soon “became the foundation of [MultiPlan’s] analytics business.”

       66.      In 2014, MultiPlan acquired Medical Audit & Review Solutions (“MARS”), once

again purchasing a repricing technology provider.




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       67.     Around June 2023, MultiPlan introduced a new “AI-enabled” out-of-network claim

repricing methodology known as “Pro Pricer.” MultiPlan claims that this tool will reprice out-of-

network claims for competing health insurance networks using over 40 years of pricing data.

However, the contractual basis for Pro Pricer remains the same—MultiPlan and its competitors

agree on a methodology to suppress reimbursement payments to healthcare providers for out-of-

network claims.

       68.     MultiPlan uses analytic tools like Pro Pricer, Viant, MARS, and Data iSight to

“reprice” out-of-network insurance claims. MultiPlan has described itself as “the leader in out-of-

network cost containment for our customers.”

       69.     In a simplified example of how MultiPlan’s analytics tools work, an individual

insured by one of MultiPlan’s competitors receives emergency room services at an AHS hospital.

If AHS does not have a pre-existing contract governing the cost of these services with the insurer,

that insurer is still required to pay for the services rendered to the insured individual. So AHS

treats the patient, then submits a claim to the insurer reflecting AHS’s charges. But, instead of

paying AHS’s claim, the insurer turns the claim over to MultiPlan. MultiPlan then uses its analytic

tools to “reprice” the claim pursuant to MultiPlan’s agreement with the insurer. MultiPlan then

submits the repriced claim to AHS on a take-it-or-leave-it basis. If AHS does not accept

MultiPlan’s “repriced” amount, the best it can hope to receive from negotiations with MultiPlan is

still a substantial underpayment of its submitted claims.

       70.     Outside the emergency room context, a similar dynamic is at play. A patient who

has a PPO insurance plan may prefer to be treated by an AHS physician, even though AHS is out-

of-network under that patient’s plan. In a non-emergency room setting, AHS has no legal

obligation to provide treatment to that patient. Nevertheless, it may decide to provide treatment,




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at least partly on the understanding that the patient has health insurance and that AHS stands to

recoup some costs of treatment from the insurer on an out-of-network basis. AHS then provides

the treatment and bills the insurance company. The insurance company then sends the claim to

MultiPlan. MultiPlan reprices the claim using a formula agreed upon by the insurer. Finally,

MultiPlan presents the repriced offer to AHS on behalf of the insurer for payment.



                                       AHS submits claim to                 Insurance company
     AHS treats out‐of‐
                                        patient’s insurance                  turns claim over to
      network patient
                                             company                             MultiPlan




   MultiPlan calculates
   reimbursement offer
                                      MultiPlan presents the
    using methodology
                                      “repriced” claim to AHS
    agreed upon by the
          insurer


       71.     MultiPlan makes money on its claims repricing services by charging its horizontal

competitors a fee based on the difference between a healthcare provider’s original claim and the

amount the provider accepts following MultiPlan’s repricing of the claim. This fee is usually equal

to 5–7% of the “savings,” but has been as high as 9.75%. As such, MultiPlan is incentivized to

recommend the lowest reimbursement price possible, since it increases the fee MultiPlan charges

to its competing insurance companies. In other words, the less money that is paid to healthcare

providers, the more money MultiPlan makes.

       72.     Commercial insurance payors admit that they have agreements with MultiPlan to

reprice out-of-network claims. For example, UnitedHealthcare states that a healthcare provider

may be offered “[a] rate recommended by Viant, an independent third-party vendor that collects

and maintains a database of health insurance claims for facilities, then applies proprietary logic to


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arrive at a recommended rate.” Similarly, Blue Cross Blue Shield of Michigan has disclosed that

MultiPlan is one of its “subcontractors,” and describes MultiPlan’s Data iSight service as “a

pricing tool that . . . calculate[s] a ‘fair’ reimbursement.”

        73.     MultiPlan is not merely making recommendations on how competing payors should

pay out-of-network claims. Because MultiPlan and its competitors have agreed on the repricing

methodology that will be used, the repricing recommendations generated by MultiPlan’s repricing

tools are accepted by commercial health insurance payors and offered to healthcare providers

without alteration. In many cases, the payor authorizes MultiPlan to make the repricing offer and

negotiate the out-of-network claim on its behalf—completely abdicating all pricing authority to its

competitor.

        74.     MultiPlan’s repricing tools are not merely the beginning of a negotiation. On its

website, MultiPlan notes that Data iSight repricing is accepted 96% of the time by providers, and

93% of the time by facilities, “making it a defensible methodology for payors.” A 2018 MultiPlan

study cited even higher numbers: MultiPlan claimed 99.4% of all out-of-network claims for

inpatient treatment that are repriced by Data iSight are accepted by healthcare providers. Those

acceptance figures are similar for outpatient (98.7%) and professional (94.5%) care. Those high

acceptance rates are not due to the validity of MultiPlan’s repricing methodology, but rather are

the result of the agreement between insurance competitors to fix prices, leaving healthcare

providers no alternative but to accept the suppressed MultiPlan repricing offers. In the instances

where MultiPlan offers to negotiate its repricing offers, those negotiations are one-sided. Because

MultiPlan and its competing payors have agreed not to compete with one another, the only question

in these negotiations is how much the healthcare provider will be harmed by the MultiPlan Cartel.




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       75.     MultiPlan’s analytics tools work by virtue of deep technological connections

between MultiPlan and its competitors. Pursuant to their agreements with MultiPlan, competing

insurance networks send their claims to MultiPlan via an electronic data interchange. These claims

come to MultiPlan with detailed information such as the procedure code, dates of service, the billed

amount, and an alphanumeric code indicating whether the claim is subject to an insurance

network’s previously disclosed reasonable and customary out-of-network rates.

       76.     Those claims are then loaded into MultiPlan’s “Claims Savings Engine,” known

internally as FRED. Pursuant to the contracts between MultiPlan and its competitors, FRED routes

the claim to one of several proprietary algorithms owned by MultiPlan, including Data iSight,

Viant, Pro Pricer, and MARS.        Those algorithms apply the pre-agreed claims suppression

methodology to the claim to determine how little MultiPlan can offer a healthcare provider for the

good or service in question and still have that offer accepted.

       77.     The exact nature of how MultiPlan’s tools suppress reimbursement payments for

out-of-network claims is non-public and proprietary. MultiPlan maintains internal white papers

that describe in detail the relevant pricing processes that those tools use for out-of-network claims.

However, a United States patent (U.S. Patent No. 8,103,522) filed by MultiPlan’s subsidiary

National Care Network, LLC, explains that when MultiPlan receives an out-of-network claim, it

groups that claim into a refined diagnosis related group (“rDRG”)—a standardized method of

grouping insurance claims used by Medicare and some commercial health insurance networks that

categorizes medical services on the basis of severity and complexity. Then, MultiPlan identifies

all claims at similar hospitals for the same rDRG code. Next, MultiPlan attempts to estimate the

hospital’s cost of providing that rDRG-coded service based on that group of hospitals’ cost report

submissions to the U.S. Centers for Medicare and Medicaid and the wage index of the hospital




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submitting the out-of-network claim. Next, MultiPlan calculates the markup and margin for each

submitted rDRG-coded out-of-network claim using the following equation: ((Average Charge) -

(Average Cost)/(Average Cost))*100.

       78.     MultiPlan’s promotional materials refer to this as a “cost-up” methodology for

claims repricing, since it involves calculating an estimate of the healthcare provider’s costs for

furnishing any billed-for service and building out a pricing offer from there. In other words,

MultiPlan and its Co-Conspirators agree upon a fixed, across-the-board profit margin that the

MultiPlan Cartel will allow healthcare providers to realize on their provision of out-of-network

healthcare.

       79.     Once MultiPlan calculates the estimated margin and markup for a given out-of-

network claim, it then applies a conversion factor based on the par median rates accepted by

providers in the industry for comparable claims.

       80.     Once MultiPlan has calculated a reimbursement rate using the agreed-upon

methodology, it presents the “repriced” claim to the healthcare provider through an electronic

portal, fax, or letter. In these communications, MultiPlan typically notes that it is working with its

own competitor to reprice the out-of-network claim. In the vast majority of cases, the offer is

accepted despite being significantly below the usual and customary rate for the goods and services

in question. When the healthcare provider accepts MultiPlan’s offer, they are prohibited from

balance billing for the remainder of their fees.

       81.     As explained above, MultiPlan’s analytics products make money by taking a

percentage, usually 5–7%, of the difference between the billed claim and the amount that the

insurer actually pays for the care provided (known internally as the “PSAV”). According to a May




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10, 2023 Quarterly Report that MultiPlan filed with the SEC, 90.9% of MultiPlan’s revenues were

generated through this PSAV model in the first three months of 2023.

       82.    The MultiPlan Cartel has been tremendously successful, bilking healthcare

providers out of billions of dollars even during a once-in-a-century pandemic. Since acquiring

Data iSight in 2011, MultiPlan’s analytics business has grown considerably. Revenues generated

by Data iSight jumped from $25 million in 2011 to $323.7 million in 2019. By 2020, analytics-

based services such as Data iSight made up more than 59% of MultiPlan’s annual revenues. In

2021, MultiPlan’s analytics-based services generated $709 million of its $1.1 billion in total

revenues. MultiPlan explained in 2023 that its analytics business typically earns profit margins

“in the mid to high 60% range.”

              iii.    There Is Direct Evidence of the MultiPlan Cartel

       83.    There is direct and unambiguous evidence that the members of the MultiPlan Cartel

have agreed to suppress out-of-network reimbursement payments. This direct evidence includes

(1) contracts between MultiPlan and competing commercial healthcare payors, (2) public

statements and communications by MultiPlan and other members of the cartel admitting to the

existence of these contracts, (3) internal communications between MultiPlan and other members

of the cartel that have been revealed in other litigation, and (4) a U.S. patent that explicitly

contemplates that MultiPlan and competing healthcare payors will agree upon a methodology or

calculation for suppressing out-of-network reimbursements to healthcare providers.

       Contracts

       84.    MultiPlan has contracts with over 700 healthcare payors comprising nearly every

healthcare payor in the United States. Nearly all of those contracts include repricing services

clauses in which MultiPlan and the healthcare payor agree to use one of MultiPlan’s proprietary




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repricing technologies to suppress payments on out-of-network healthcare claims and to split the

revenue generated by this underpayment between MultiPlan and the healthcare payor. Despite

MultiPlan’s efforts to keep many of these agreements out of the public eye, many facts concerning

those agreements are publicly known.

       85.    Some versions of MultiPlan’s contracts with competing healthcare payors contain

an exhibit entitled “Repricing Services” that allows the competing payor to route its out-of-

network claims to MultiPlan for repricing via a direct electronic data interchange or a web-based

interface. The contract also specifies the repricing method that would be used. Thus, MultiPlan

and its competitors have entered into agreements which explicitly discussed the methodology they

would use to suppress payments for out-of-network services to healthcare providers.

       86.    The existence of several of MultiPlan’s contracts to suppress out-of-network claims

reimbursements only became public when they were recently filed with the Washington State

Insurance Commissioner.

       87.    In 2014, Cigna and MultiPlan entered into a Master Services Agreement, which has

been amended several times to include statements of work and addendums. While the full

documents are not presently publicly available, the Washington State Insurance Commissioner

indicates that the agreements include clauses covering “repricing for services and procedures”—

i.e., MultiPlan’s out-of-network claims suppression technology.        Information about these

agreements was not made public until it was filed with the Washington State Insurance

Commissioner on June 17, 2022.

       88.    On May 1, 2015, Aetna and MultiPlan entered into a Network Rental Agreement.

That agreement contains an amendment that requires Aetna to use Data iSight. Although this




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contract was entered into in 2015, it was not made public until it was filed with the Washington

State Insurance Commissioner on December 22, 2021.

       89.     In 2018, Kaiser Foundation Health Plan of the Northwest and MultiPlan entered

into a Medical Reimbursement Analysis Services agreement that contained provisions addressing

the repricing of out-of-network medical services. Although this contract was entered into in 2018,

information about the agreement was not made public until it was filed with the Washington State

Insurance Commissioner on January 20, 2022.

       90.     Similarly, Asuris Northwest Health, Regence Blue Shield, Bridgespan Health

Company, Regence Blue Cross Blue Shield of Oregon, and Regence Blue Cross Blue Shield of

Idaho entered into agreements with MultiPlan that address the repricing of out-of-network medical

services. Information about the agreements was not made public until it was filed with the

Washington State Insurance Commissioner in 2022 and 2023.

       91.     MultiPlan has taken steps to keep its agreements with competing health insurance

payors a secret. For example, MultiPlan has a Service Agreement with Allied National, Inc.

(“Allied”) under which Allied utilizes MultiPlan’s repricing methodology.           The Service

Agreement between MultiPlan and Allied states that it is “Confidential Not For Distribution.” The

Service Agreement also contains a Confidentiality and Proprietary Rights provision, which defines

“Confidential Information” to include information relating to MultiPlan’s repricing services and

methodologies. The Service Agreement prohibits Allied from using that Confidential Information

for any reason other than using MultiPlan’s repricing services. When Allied filed a third-party

complaint in Butler v. Unified Life Insurance Company, et al., Case No. CV 17-50-SPEW-TJC

(D. Mont. Nov. 18, 2021) that contained three paragraphs that disclosed information regarding

MultiPlan’s repricing services, MultiPlan sued Allied for disclosing that information. Ultimately,




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Allied removed its filing from the docket and redacted those paragraphs in its third-party

complaint.

       92.        Upon information and belief, MultiPlan has entered into additional contracts with

many competing commercial health insurance companies that require MultiPlan’s competitors to

use its out-of-network claims suppression technology.

       Public Statements and Communications

       93.        Members of the MultiPlan Cartel have admitted to the existence of their agreements

to suppress out-of-network reimbursement claims in communications with healthcare providers

and the public.

       94.        AHS routinely receives communications from MultiPlan in which MultiPlan

concedes that it has “contracted with” various healthcare payors that compete against MultiPlan’s

PPO networks and that the result of MultiPlan’s agreements with its competitors is that AHS will

be radically underpaid for its healthcare services.

       95.        AHS is not alone. Jeffrey Farkas, MD, LLC submitted a claim for $332,300 to

Great-West Healthcare d/b/a Cigna Corp for service performed on February 17, 2016. MultiPlan

responded with a fax sent to Dr. Farkas’s office on June 13, 2018. The fax revealed that “Great-

West Healthcare, now part of CIGNA has contracted with MultiPlan to facilitate resolution of the

above referenced services due to the Provider being out-of-network for this claim. This agreement

may expedite payment and decrease the Patient’s responsibility.” MultiPlan offered to pay Dr.

Farkas only $12,407 for his services, a difference of $319,893 on a single out-of-network claim.

MultiPlan went on to state, “By signing this agreement, Provider accepts this Proposed Amount

and agrees to reduce the liability of the Patient and Payor. Provider agrees not to bill the Patient,

or financially responsible party, for the difference between the Billed Charges and the Proposed




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Amount.” MultiPlan gave Dr. Farkas’ office two days to decide whether to accept the take-it-or-

leave-it offer.




        96.       Similarly, in November 2021, another medical provider submitted $4,500 in

charges incurred on November 13, 2021 to Anthem, Inc. MultiPlan responded with a letter stating:

“Anthem, Inc. has contracted with MultiPlan to facilitate resolution of the above referenced

services due to the Provider being out-of-network for this claim.” MultiPlan offered to pay only

$673.65 on the $4,500 claim.

        97.       Likewise, in 2021 a healthcare provider submitted a charge of $3,700 to

UnitedHealthcare. Viant (a division of MultiPlan) responded by stating that it would only agree

to accept an adjusted price of $323.58 “as payment in full.” Viant then stated that if the healthcare

provider accepted that adjusted price, it could not “balance bill patient or patient’s family (except

for deductible, coinsurance, and non-covered items, if applicable).”




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       98.     MultiPlan’s public statements concede the existence of its agreements to suppress

out-of-network reimbursements with its competitors. On August 18, 2020, Mark Tabak, the CEO

of MultiPlan at the time, described MultiPlan as “the leader in out-of-network cost containment.”

As Mr. Tabak explained to investors, MultiPlan has entered into “multi-year contracts with the

leading payors,” i.e., health insurance companies, to provide this service. He stated that MultiPlan

drives down out-of-network payments by “captur[ing] [out-of-network] claims” from competing

health insurance networks that contract with MultiPlan for its claims repricing services. MultiPlan

then “direct[s]” those claims “to the proper solution set.” While these “solution set[s]” may vary

in name, they all serve the same function: to set out-of-network reimbursement rates at agreed

upon levels or by using an agreed upon methodology.

       Communications with Cartel Members

       99.     MultiPlan’s relationship with UnitedHealthcare shows how the price-fixing

conspiracy unfolds in practice. UnitedHealthcare is the single largest health insurance company

in the United States.    As with many subscribers to MultiPlan’s claims repricing services,

UnitedHealthcare runs PPO networks that compete with MultiPlan’s PPO networks. Beginning




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on July 1, 2017, UnitedHealthcare and MultiPlan entered into an explicit agreement to suppress

out-of-network health insurance reimbursement prices.

       100.   Initially, MultiPlan induced UnitedHealthcare to agree to cut out-of-network

reimbursements by explaining that UnitedHealthcare’s competitors had already entered into

similar agreements with MultiPlan. In 2016, MultiPlan’s former Chief Revenue Officer, Dale

White, wrote an email to UnitedHealthcare executives, explaining that 7 of UnitedHealthcare’s

top 10 competitors were using MultiPlan’s repricing services.          Mr. White encouraged

UnitedHealthcare to do the same, writing: “Implementing these initiatives will go a long way to

bring UnitedHealth back into alignment with its primary competitor group [Blues, Cigna, Aetna]

on managing out-of-network costs.”

       101.   One of the recipients of Mr. White’s email, Rebecca Paradise, UnitedHealthcare’s

Vice President of Out-Of-Network Payment Strategy, explained that a key factor in

UnitedHealthcare’s decision to agree to use MultiPlan’s out-of-network reimbursement

suppression technology was that the technology “was widely used by our competitors.”

       102.   Scott Ziemer, Vice President of Customer Solutions – Network at UMR (a

UnitedHealthcare subsidiary), testified under oath that MultiPlan recommended that

UnitedHealthcare use a repricing formula that capped out-of-network payments at 350% of

Medicare rates.

       103.   Mr. White, MultiPlan’s Chief Revenue Officer at the time, relayed to another

UnitedHealthcare executive, John Haben, that by agreeing to use the 350% of Medicare rates

formula in Data iSight, UnitedHealthcare would “be in line with another competitor” and “leading

the pack along with another competitor.”




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       104.    Mr. Haben summarized MultiPlan’s recommendation in a 2017 email and

presentation he sent to senior management at UnitedHealthcare entitled “OCM [Outlier Cost

Management]-MultiPlan Benchmark Pricing Overview.” In the email, Mr. Haben wrote, “[t]oday,

our major competitors have some sort of outlier cost management; they use Data iSight. United

will be implementing July 1, 2017.”

       105.    In the same email, Mr. Haben explained that the agreement between

UnitedHealthcare and MultiPlan could “improve”—i.e., cut—UnitedHealthcare’s out-of-network

claim reimbursement payments “by $900 million” per year.

       106.    Mr. Haben later testified under oath that UnitedHealthcare initially agreed with

MultiPlan to suppress out-of-network claims in a less aggressive manner that put UnitedHealthcare

in the “middle of the pack of its peers.”

       107.    Over time, UnitedHealthcare became more aggressive and agreed with MultiPlan

to implement lower reimbursement formulas in Data iSight, consistent with others in the industry.

       108.    UnitedHealthcare wrote in a Customer Impact Advisory Brief that it was “utilizing

Data iSight, owned by MultiPlan, to administer [an outlier cost management program]. 90 other

payors nationwide use [Data iSight] in a similar manner.”

       109.    UnitedHealthcare tracked the amount of money that it underpaid healthcare

providers using “OCM,” its internal term for claims that were routed to Data iSight.

UnitedHealthcare employees prepared a table with a column entitled “No OCM,” meaning the

additional amount that UnitedHealthcare would have paid on out-of-network claims had

UnitedHealthcare not agreed with MultiPlan to use MultiPlan’s Data iSight product to suppress

out-of-network reimbursement payments. That internal analysis shows that UnitedHealthcare’s




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agreement with MultiPlan resulted in UnitedHealthcare paying hundreds of millions of dollars less

in out-of-network claims than it would have without its agreement with MultiPlan.

       110.    MultiPlan has entered into similar agreements with each of the largest health

insurance companies in the United States, that would otherwise be competing amongst themselves.

In 2021, Sean Crandell, the Senior Vice President of Healthcare Economics at MultiPlan, testified

under oath that “all of the top 10 insurers in the U.S.” are MultiPlan customers. As of June 2023,

MultiPlan touts that “all of the top 15 insurers” in the country have agreed to use MultiPlan as their

repricer for out-of-network claims.

       111.    Each of those “top 15” insurers compete with MultiPlan’s PPO networks to attract

healthcare providers to become in-network and to induce healthcare providers to treat out-of-

network patients through the payment of competitive reimbursement rates.

       112.    MultiPlan also engages in “road shows” in which it travels to competing insurance

companies and provides updates on the claims repricing methodologies adopted by MultiPlan’s

customers and their competitors.

       113.    MultiPlan executives Dale White and Susan Mohler are involved in these “road

show” presentations, wherein MultiPlan produces detailed descriptions of Data iSight’s

methodology, reviews the “savings” achieved for MultiPlan’s customers, and recommends ways

to further suppress out-of-network reimbursements.

       114.    MultiPlan also prepares white papers for its claims repricing clients and Co-

Conspirators which are essentially user’s manuals instructing them on how to implement the

scheme. These white papers include references to the claims repricing methodologies adopted by

horizontal competitors in the U.S. Commercial Reimbursement Market.




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       MultiPlan’s Patent

       115.    As noted above, MultiPlan has obtained a U.S. patent that describes its repricing

methodology. That patent explains that MultiPlan and competing health insurance networks are

explicitly agreeing on the methodology that will be used to calculate and suppress out-of-network

reimbursement payments. Specifically, the patent explains that MultiPlan’s customers (i.e.,

competing healthcare payors) agree with MultiPlan on the methodology or calculation that

MultiPlan’s repricing tool will use to suppress reimbursement payments to healthcare providers.

               iv.     MultiPlan’s Cartel Agreements Cause Substantial and Direct Harm to

                       Healthcare Providers

       116.    MultiPlan has been similarly open about the effect its anticompetitive price-fixing

has on providers. In its investor presentations, MultiPlan openly touts the fact that it helps its

competitors systematically underpay healthcare providers. During a fall 2021 investor roadshow

presentation, MultiPlan explained to investors that in an illustrative world “Without MultiPlan” a

doctor could expect to make $800 on an out-of-network claim, but in an illustrative world with

MultiPlan, a doctor would only make $600 on the same out-of-network claim—a 28.6%

difference.

       117.    In another presentation, MultiPlan claimed that its repricing tool was even more

effective, writing that it provided insurers “savings of 61%–81% off billed charges.”

       118.    MultiPlan benefits from the MultiPlan Cartel in the same ways its horizontal

competitors do. By agreeing to suspend competition with respect to the reimbursement of out-of-

network claims, MultiPlan is able to artificially underpay those claims, inflating the profits of its

PPO insurance business.




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               v.      There Is Substantial Circumstantial Evidence of the MultiPlan Cartel

       119.    Because AHS has cited extensive direct evidence of the MultiPlan Cartel, no

circumstantial evidence is needed to infer the existence of the cartel. Nevertheless, reams of

circumstantial evidence supports the existence of the cartel.

       Parallel Conduct

       120.    The members of the MultiPlan Cartel engaged in parallel conduct. They suppressed

the amount paid to healthcare providers for out-of-network claims and, in a continuous and parallel

fashion, sent repricing notices and depressed payments to healthcare providers pursuant to the

MultiPlan Cartel agreement.

       121.    MultiPlan also facilitated a transition away from a marketplace in which

commercial insurance networks competed with one another to offer out-of-network providers

usual, customary, and reasonable (“UCR”) reimbursement payments to a coordinated regime in

which commercial health insurance networks cut reimbursement payments to healthcare providers

and then split those “savings” with self-funded insurance plans.

       122.    The insurance market is made up of two types of plans, risk-based (also called

“fully insured”) and administrative services only (“ASO”) (also called “self-funded”). Under a

risk-based model, the insurance company collects premiums and pays claims. If the premiums

exceed the claims, the insurance company profits, but if the claims exceed the premiums, the

insurance company carries the risk of loss. Under an ASO model, the employer carries the risk

instead—the premiums are paid into the coffers of the employer and the employer is responsible

for paying its employees’ claims.        The employer pays the insurance company a fixed

administrative services fee, per member, per month, (a “PMPM” fee) to administer the ASO plan.

Under these ASO contracts, the employers take on the risk and associated insurance companies




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enter into “shared savings agreements” that permit the insurance company to send out-of-network

claims for ASO employers to MultiPlan for repricing. Large employers, which make up a

substantial or even dominant portion of the market for commercial insurance, are almost all on

ASO contracts.

       123.    In order to profit from the out-of-network reimbursement suppression under the

MultiPlan Cartel, the cartel members added new terms to their ASO contracts. In addition to the

PMPM fees, those ASO contracts now require self-insured groups to pay a percentage (as high as

35%) on the difference between a billed out-of-network charge and the amount paid on that out-

of-network claim, known as the “shared savings fee.” Under the most egregious instances of claim

reimbursement suppression, that shared savings fee could end up being even higher than the

amount paid to the provider performing the services.

       124.    For example, a notification concerning Nokia Corporation’s ASO plan notes that

Nokia participates in a “shared savings program” administered by UnitedHealthcare. That notice

states: “UnitedHealthcare uses a service called Data iSight to review select out-of-network claims

and recommend a reduced payment amount for out-of-network covered services.”

       125.    These shared savings agreements generate tremendous profits for insurance

companies and self-funding employers at the expense of medical providers. UnitedHealthcare

made approximately $1.3 billion from its shared savings agreements to suppress out-of-network

claims in 2020. Moreover, in an internal presentation, UnitedHealthcare stated that it intended to

cut its out-of-network reimbursements by $3 billion by 2023.

       126.    Therefore, if a subscriber group self-finances its health insurance benefits and

enters into an ASO agreement with a commercial health network, the subscriber group, health

insurer, and MultiPlan enter into multiple explicit agreements to suppress out-of-network




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reimbursement payments to healthcare providers and then split the ill-gotten profits from their

conspiracy among MultiPlan, the insurance company, and the subscriber group.

       127.    As a result of these agreements, UCR reimbursement, once the industry standard,

has gone by the wayside.        As John Haben, the former Vice President of Networks at

UnitedHealthcare, testified under oath, UnitedHealthcare, like the rest of the commercial insurance

industry, moved from paying out-of-network claims at “reasonable and customary” rates, or rates

determined by benchmarking databases, to using MultiPlan’s out-of-network claim suppression

tools. One example of such a benchmarking database is FAIR Health, an independent database

that houses aggregated information designed to provide a reasonable and consistent basis for

setting reimbursement rates. Pre-MultiPlan, FAIR Health was widely used throughout the industry

in pricing out-of-network reimbursements.

       128.    Mr. Haben testified that UnitedHealthcare did not want to continue using

“reasonable and customary” reimbursement rates because those costs were “uncontrolled.” As a

result, “reasonable and customary” reimbursements for out-of-network claims are a “legacy

program” that UnitedHealthcare rarely, if ever, uses.

       129.    Instead, UnitedHealthcare, like all of its competitors, has shifted to a “shared

savings” model, where instead of paying the prevailing, “reasonable” rate for a service, they all

use the same tools to reduce reimbursements. And since they all have the same “shared savings”

clauses in their ASO contracts, they all profit in the exact same way.

       130.    This parallel shift to a new paradigm was orchestrated by MultiPlan, whose sales

executives have repeatedly touted the ability of their repricing service to create “savings” by

underpaying out-of-network claims. For instance, in 2014 MultiPlan told competing insurance

networks that inpatient and practitioner savings for its Data iSight product were between 55% and




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65%.    They told multiple competing networks about the “success” their competitors had

experienced in implementing Data iSight and other MultiPlan claims repricing services—thereby

encouraging those networks to join their competitors in implementing parallel conduct.

       131.    MultiPlan advertises to competing health insurance networks that Data iSight

achieves “optimal reimbursement”—i.e., lower payments to healthcare—to providers when

“compared to Usual and Customary and Medicare-Based pricing.”

       132.    As a result of this coordination by MultiPlan, nearly all major insurance companies

have implemented “shared savings” strategies, and nearly all major insurance companies use

MultiPlan’s tools to implement those services.

       133.    MultiPlan’s repricing services also generate parallel repricing offers. According to

a complaint filed against MultiPlan in Emergency Group of Arizona Professional Corp., et al. v.

United Healthcare, Inc., et al., Case No. CV2019-004510 (Sup. Ct. Ariz., Maricopa Cnty., June

10, 2019), MultiPlan’s repricing services result in members of the MultiPlan Cartel offering

parallel reimbursement amounts for out-of-network services regardless of the location where the

service is offered. This makes no sense absent the existence of a conspiracy. Because the cost of

care in Manhattan, New York, is higher than in Manhattan, Kansas, all legitimate methods of

reimbursing out-of-network claims account for the geographic difference between where care is

administered. For instance, charges that submitted for CPT code 99284 (emergency department

visit for the evaluation and management of a patient) on different dates in early 2019 in different

states resulted in MultiPlan presenting the same reimbursement price:




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         Location         Date of        Billed          CPT Code       Allowed
                          Service        Amount                         Amount
         Wyoming          1/21/19        $779            99284          $413.39
         Arizona          1/25/19        $1,212          99284          $413.39
         New              1/25/19        $1,047          99284          $413.39
         Hampshire
         Oklahoma         2/8/19         $990            99284          $413.39
         Kansas           2/10/19        $778            99284          $413.39
         New Mexico       2/10/19        $895            99284          $413.39
         California       3/25/19        $937            99284          $413.39
         Pennsylvania     5/20/19        $1,094          99284          $413.39


       134.    In a competitive market, competing health insurance networks would not agree to

use a common tool provided by the same company to suppress out-of-network claims. Among

other things, by paying reasonable out-of-network reimbursement rates, health insurance networks

could be certain that their insureds would not be refused treatment in contexts where a healthcare

provider had the ability to refuse treatment (i.e., outside of the emergency department). Moreover,

absent a conspiracy, health insurance networks would make independent decisions on how to

reimburse out-of-network claims, with the freedom to consider the specific circumstances

underlying each submitted claim, rather than automatically underpay claims through MultiPlan’s

across-the-board methodology.

       135.    Even if competing health insurance networks’ only natural incentive was to keep

out-of-network claims effectively contained, they would not naturally agree to do so using the

same tools from the same provider, which also happens to be a rival PPO network operator.

Instead, these competitors should want to compete to find the optimal balance between keeping

the costs of claims down while also minimizing the costs of claims disputes that arise when

reimbursement offers are too low.

       136.    But if the competing health insurance networks implement the exact same

reimbursement suppression strategies, they can collectively maximize their profit while shielding



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themselves from the costs of disputes. The only market players that lose are the providers who

have no choice but to accept the suppressed reimbursement offers.

               vi.     Numerous “Plus Factors” Reinforce the Existence of Agreements to

                       Suppress Out-Of-Network Reimbursements

       137.    Plus factors are categories of evidence that help courts and juries differentiate

competition from collusion. Here, multiple “plus factors” support the existence of MultiPlan’s

collusive agreements to suppress out-of-network reimbursements, including (1) the high market

concentration of the members of the MultiPlan Cartel, (2) high barriers to entry, (3) ample motive

to participate in the MultiPlan Cartel, (4) a history of prior collusion, (5) numerous opportunities

to collude, including those directly facilitated by MultiPlan, (6) actions against self-interest which

only make sense as part of a common plan, (7) evidence of cartel enforcement mechanisms, (8)

pervasive and systematic information exchange between the cartel members and MultiPlan, and

(9) the existence of customary patterns and courses of dealing that can only be explained by the

existence of a cartel agreement. These “plus factors” equally support the existence of agreements

between MultiPlan under a horizontal price-fixing conspiracy, a “hub-and-spoke” conspiracy, and

a vertical price-fixing conspiracy resulting in an unreasonable restraint of trade.

                       a.      High Collective Market Concentration

       138.    The relevant service market for the purposes of AHS’s claims is the market for

reimbursements paid by commercial insurers to healthcare providers for out-of-network medical

services (referred to throughout as the “Commercial Reimbursement Market”). Within the

relevant market, there are submarkets for reimbursements paid by each specific commercial insurer

(or other payor) for the out-of-network medical services provided to patients enrolled in that

insurer’s health insurance plan. In this market and its submarkets, healthcare providers like AHS




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function as sellers of out-of-network medical services, while commercial insurers like MultiPlan

and its Co-Conspirators function as buyers of those services.

       139.    Healthcare providers have no reasonable substitutes for the reimbursements

provided by commercial insurers for out-of-network medical services. It is illegal under federal

law and various state laws for healthcare providers to seek reimbursements from insureds (i.e.,

“balance billing”) for most out-of-network claims. Moreover, MultiPlan, which along with its Co-

Conspirators collectively dominate the relevant market, forces healthcare providers to forego any

reimbursement from insureds as a condition of receiving any compensation at all for out-of-

network claims.

       140.    While healthcare providers can receive reimbursement payments from

governmental sources, such as Medicare, Medicaid, and Tricare, none of those sources of payment

compete against commercial health insurance. These forms of government-paid insurance address

populations that are not typically served by commercial health insurance. For example, Medicare

and Medicaid have statutory age, income, or disability requirements. Similarly, Tricare is

available only to current and former members of the United States military.

       141.    Commercial insurers want to maintain access to a broad range of out-of-network

healthcare providers so they can market the reach of their insurance products. As a result,

commercial insurers compete with one another in the relevant market to reimburse out-of-network

healthcare providers at reasonable rates so such providers will accept patients from their

commercial health insurance network.

       142.    Some commercial insurance networks, such as MultiPlan’s PHCS Network, are

marketed directly to employment groups, individuals, or other payors, while other commercial

insurance networks, such as MultiPlan’s “wrap” PPO network, are marketed to other commercial




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insurers. In either case, the number and range of healthcare providers willing to accept patients on

an out-of-network basis is a key selling point, and therefore the necessity of competition between

commercial insurers to compensate healthcare providers for out-of-network services is unchanged.

       143.    The relevant geographic market for purposes of AHS’s claims is the United States.

Medical providers in the United States cannot practicably turn to payors in other countries, where

private medical insurance is uncommon or non-existent and nearly all medical care is administered

as a part of a comprehensive government program, for reimbursement of out-of-network medical

services. The United States healthcare industry, including the market for reimbursement of out-

of-network services, is universally recognized by industry participants as distinct from healthcare

industries in foreign countries, and is subject to a variety of unique federal and state laws and

regulations that apply only in the United States. The relevant geographic market is not smaller

than the United States because healthcare providers can practicably turn to commercial insurers

located in other parts of the country for reimbursement of out-of-network services.

       144.    MultiPlan and its Co-Conspirators, through their conspiratorial agreements,

collectively hold dominant power in the relevant market. Nearly every commercial insurer that

participates in the relevant market has agreed with MultiPlan to suppress out-of-network

reimbursement payments. As MultiPlan has repeatedly stated, each of the “top 15” health

insurance companies and over 700 payors subscribe to its claims repricing service. The members

of the MultiPlan Cartel, including MultiPlan, UnitedHealth, Cigna, Humana, Elevance, Aetna,

Guidewell, and others, collectively control at least 90% of the relevant market.

       145.    MultiPlan stands nearly alone in the out-of-network claims repricing business. It

faces only limited competition, most notably from a company called Zelis. MultiPlan claims that

Data iSight differentiates itself through its patented repricing methodology and its large,




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proprietary database of historical claims, whereas others claims repricing services base their

methodologies on usual and customary rates or Medicare rates.

       146.    Zelis and other claims repricing services are mere bit players compared to

MultiPlan. In 2022, Zelis processed approximately 2 million claims for repricing. According to

a June 28, 2023 presentation, in 2022 MultiPlan processed 546 million claims, accounting for $155

billion in claims.

       147.    The market for reimbursements paid by commercial insurers to healthcare

providers for out-of-network medical services is protected by high barriers to entry. Commercial

health insurance in the United States has long been a highly concentrated industry, with a small

number of large insurers dominating the market. According to Forbes, in 2021 the top 15

healthcare insurance companies controlled almost 60% of the entire health plan enrollment in the

United States. According to MultiPlan, all 15 of these insurance companies (and hundreds more

as well) have agreed with MultiPlan to use its claims repricing service, along with hundreds of

additional insurance companies and payors throughout the United States.

       148.    Indeed, during a trial, John Haben, the former Vice President of Networks at

UnitedHealthcare, agreed that “MultiPlan services [are] widely used in the industry.”

       149.    This high collective market concentration of the members of the MultiPlan Cartel

is probative circumstantial evidence of agreement or agreements to conspire. This is because it is

this dominant collective market power that has allowed the MultiPlan Cartel to impose

anticompetitive effects on the entire relevant market.

       150.    In addition to this collectively dominant market power, each insurance company

has complete buyer-side market power in the submarket for reimbursements of out-of-network

healthcare services provided to its own insureds.




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       151.    When a healthcare provider like AHS provides out-of-network services to a patient,

its only option for seeking reimbursement for those services is to submit a claim to the particular

health insurance company that administers the insurance plan in which that patient is enrolled.

Thus, when AHS provides out-of-network services to a patient insured by Cigna, for example, it

has no choice but to seek reimbursement from Cigna, and no other insurance company or payor is

a viable source of reimbursement.

       152.    As a result, each health insurance company has complete buyer-side power over the

reimbursement of out-of-network services provided to its own insureds. When a health insurance

company agrees with MultiPlan on the methodology for suppressing reimbursements for such

services, it is entering into a price-fixing agreement backed by complete market power in the

relevant submarket, leaving healthcare providers like AHS with no practicable option but to accept

the artificially suppressed reimbursement that MultiPlan’s methodology generates.

                      b.         High Barriers to Entry

       153.    There are high barriers to entry into the U.S. Commercial Reimbursement Market.

       154.    To even gain a foothold, new entrants face formidable challenges. They need to be

able to bear the extreme expenditures of time and money required to develop a network of

healthcare providers large enough to compete as a commercial healthcare insurer. Even if a new

entrant opted not to develop an insurance network, there would still be significant capital outlays

required in order to operate as a commercial healthcare payor. They then face the challenge of

contending with the economies of scale enjoyed by the large incumbent insurers. Establishing

name recognition in an industry occupied by long-entrenched and well-recognized major players

presents an additional hurdle.




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         155.   New health insurance networks also face an actuarial risk. If they cannot balance

claims paid and revenue generated through premiums or network access fees (such as ASO fees),

their capital reserves can quickly be depleted.

         156.   There are also steep regulatory hurdles to market entry. The provision of health

insurance is highly regulated at the federal level and each state has its own varying regulations for

the industry, leading to a patchwork system that is difficult for new entrants to navigate. This

patchwork is also ever-changing, as new legal and regulatory requirements are created on a regular

basis.

         157.   Even if a new entrant is initially successful, it must survive long enough to develop

a broad base of business which allows it to effectively spread risk amongst its insureds.

         158.   These barriers to entry further cement the dominance of the MultiPlan Cartel by

ensuring that new entrants who reject the MultiPlan Cartel’s price-fixing scheme cannot

undermine the cartel’s ability to impose artificially low reimbursement rates on healthcare

providers for out-of-network services.

         159.   Moreover, there are high barriers to entry with respect to repricing services. In

order to develop a third-party repricing service, a new entrant would need to develop source code

and algorithms that effectively reprice out-of-network claims without infringing MultiPlan’s

patents, develop contractual relationships with the hundreds of commercial insurance networks,

invest tremendous sums of money in server space and other equipment necessary to operate the

repricing service at scale, and commit significant resources to constantly improving its repricing

algorithms and software. As a result, it is unlikely that any company could effectively disrupt

MultiPlan’s position as the repricing service for all major commercial insurance networks.




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       160.    These dual high barriers make it unlikely that a new entrant could disrupt the

MultiPlan Cartel. Therefore, these high barriers to entry in a relevant market support an inference

of collusive agreements.

                      c.      Motive to Conspire

       161.    MultiPlan and the members of the MultiPlan Cartel have a massive financial motive

to suppress reimbursement payments for out-of-network service. MultiPlan is paid a percentage

of the underpayment to healthcare providers. In other words, it only makes money if the cartel is

successful in suppressing out-of-network reimbursement payments; and the more the cartel

suppresses, the more MultiPlan gets paid. The percentage of savings that MultiPlan’s competitors

pay it for suppressing these claims can be significant. At one point, UnitedHealthcare paid

MultiPlan 9.75% of “savings” as a fee for MultiPlan suppressing out-of-network reimbursements.

The gross payments to MultiPlan can also be significant. In one year, UnitedHealthcare paid

MultiPlan $330 million for MultiPlan’s assistance in suppressing out-of-network reimbursement

claims. That $330 million payment accounts for up to 20% of MultiPlan’s annual revenue.

       162.    Likewise, the insurance company Co-Conspirators in the MultiPlan Cartel are

incentivized to suppress payments to healthcare providers to increase their own profits. For

example, in an internal email, UnitedHealthcare executives stated that by “driving all OON [out-

of-network] claims to a more aggressive pricing,” UnitedHealthcare could generate more profits

than if it continued paying out-of-network claims at usual and customary rates.

       163.    The motives of MultiPlan and its Co-Conspirators are aligned because the less the

MultiPlan Cartel pays to healthcare providers, the more revenue and profits they get to keep for

themselves and split pursuant to their anticompetitive agreements. As MultiPlan itself stated in a

presentation to investors, its payor-customers’ “interests are completely aligned” with its own.




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       164.    While companies are disincentivized from entering into cartel agreements by U.S.

antitrust law, MultiPlan strongly implies to its competitors that its repricing scheme is entirely

legal by offering to enter into formal contracts for those repricing services.

                       d.      Prior Industry Collusion

       165.    It is easier for firms in a market to conspire with one another if they have done so

before. The industry participants know one another and know that they can trust each other to

conspire and not alert the government to the existence of the cartel. That is the case here.

       166.    Because commercial health insurance networks cannot collectively control out-of-

network reimbursement rates through legally enforceable contracts (which is the way that they

have traditionally controlled in-network reimbursement rates), they have attempted to enter into

illegal cartel agreements to suppress out-of-network reimbursements on multiple occasions.

       167.    In 2008, the New York Attorney General began investigating UnitedHealth Group,

Inc.’s subsidiary, Ingenix.    The New York Attorney General’s investigation showed that

competing commercial health insurers were sending detailed information on their out-of-network

claims to Ingenix to be included in a database that was used to calculate out-of-network

reimbursement rates for commercial health insurers. The Attorney General’s investigation showed

that Ingenix’s database resulted in out-of-network claims being underpaid by 10% to 28%

depending on the service involved.

       168.    On January 13, 2009, UnitedHealth Group entered into a settlement with the New

York Attorney General under which UnitedHealth Group agreed to shut down the Ingenix database

and contribute $50 million toward the creation of a new, independent database that would house

more aggregated information. That database became known as FAIR Health.




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         169.   On January 15, 2009, Aetna entered into a settlement with the New York Attorney

General under which it agreed to end its relationship with Ingenix and to contribute $20 million

toward the creation of FAIR Health. Similarly, on February 18, 2009, WellPoint, Inc. agreed to

end its relationship with Ingenix and pay $10 million toward the creation of FAIR Health. Other

commercial health insurance companies also entered into settlements that required them to end

their relationship with Ingenix in 2009.

         170.   The Ingenix scheme also led to civil settlements of class action lability. For

instance, UnitedHealthcare paid $350 million to settle a class action. As part of the civil

settlement, UnitedHealthcare agreed to use the FAIR Health database for a period of time. After

that time period expired, UnitedHealth agreed to join the MultiPlan Cartel.

                       e.     Opportunities to Conspire

         171.   The MultiPlan Cartel also has ample opportunities to conspire, which support an

inference of agreements to conspire.

         172.   MultiPlan itself facilitates extensive private communications between competing

health insurance networks which provide the setting and opportunity for them to conspire.

         173.   MultiPlan maintains a Client Advisory Board which hosts annual multi-day retreats

for health insurance company executives and regularly schedules other events bringing

MultiPlan’s Co-Conspirators together.

         174.   In 2019, MultiPlan hosted a Client Advisory Board meeting at the luxury spa resort

Montage Laguna Beach in Orange County, California.                 Executives from MultiPlan,

UnitedHealthcare, Aetna, Cigna, Humana, and several other commercial insurers attended the

event.




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          175.   UnitedHealthcare executive Rebecca Paradise testified that the participants in these

meetings, “[t]ypically . . . talk about things they’ve implemented, other things they’re looking at.”

          176.   Presentations by MultiPlan at Client Advisory Board retreats cover cost reductions

secured by MultiPlan through its claims repricing service.

          177.   MultiPlan also uses the Client Advisory Board meetings to draw new members into

the MultiPlan Cartel. According to a 2017 MultiPlan document, the 2015 Client Advisory Board

meeting featured prospective clients seated next to existing clients at dinner for this purpose.

          178.   From September 26–28, 2021, MultiPlan’s Client Advisory Board returned to the

Montage Laguna Beach resort for another retreat.

          179.   Upon information and belief, MultiPlan has hosted other such Client Advisory

Board meetings on a regular basis, facilitating collusion among the members of the MultiPlan

Cartel.

          180.   The road shows hosted by MultiPlan provide additional opportunities for the

members of the MultiPlan Cartel to conspire.

          181.   Members of the MultiPlan Cartel have extensive additional opportunities to

conspire through other industry linkages. For example, many of them, including most of the largest

commercial health insurance payors, are members of industry associations such as AHIP (formerly

“America’s Health Insurance Plans”). Co-Conspirators including Aetna, Centene, Cigna, CVS

Health, Elevance, HCSC, Humana, and many others are members of AHIP.

          182.   As AHIP states, it “plays an important role in bringing together member companies

and facilitating dialogues to advocate on shared interests.”

          183.   AHIP’s Board of Directors is a “who’s who” of MultiPlan’s Co-Conspirator

executives, including:




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              Gail K. Bourdreaux, President and CEO of Elevance;

              Bruce D. Broussard, President and CEO of Humana;

              David Cordani, Chairman and CEO of Cigna;

              Sarah London, CEO of Centene;

              Karen S. Lynch, President and CEO of CVS Health (the parent company of Aetna);

              Maurice Smith, President, CEO, and Vice Chair of HCSC.

       184.    AHIP hosts conferences, committee meetings, and board meetings multiple times

a year where its members participate in private, closed-door meetings.

       185.    In 2023, MultiPlan sponsored AHIP’s Annual Conference. Upon information and

belief, MultiPlan representatives attended AHIP’s 2023 Annual Conference from June 13–15 in

Portland, Oregon.

       186.    A California federal court examining the Ingenix scheme concluded that plaintiffs

challenging Ingenix’s relationship with many of the same Co-Conspirators as in this Litigation

sufficiently alleged a per se horizontal price-fixing agreement, in significant part based upon the

opportunities to conspire provided by their overlapping membership in AHIP and participation in

AHIP events. In re WellPoint, Inc. Out-of-Network “UCR” Rates Litig., 865 F. Supp. 2d 1002,

1028 (C.D. Cal. 2011).

       187.    The fact that members of the MultiPlan Cartel regularly gather together in closed-

door retreats such as MultiPlan’s Client Advisory Board meetings, at MultiPlan’s road shows, and

at industry events such as AHIP’s conferences, board meetings, and committee meetings is

circumstantial evidence that their parallel conduct is part of a common scheme to suppress

reimbursement rates.




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                       f.      Actions Against Self-Interest

       188.    Commercial health insurance networks that joined the MultiPlan Cartel have

engaged in actions against self-interest in at least two ways.

       189.    First, the very agreements between MultiPlan and the commercial health insurance

networks are economically irrational absent coordination. If a single insurance network entered

into an agreement with MultiPlan to shift away from the UCR methodology and drastically

underpay out-of-network claims, healthcare providers would simply refuse to treat insureds of that

network altogether (absent a scenario requiring treatment, such as emergency services). As a

result, the health insurance network would face serious harm to the value and breadth of their

insurance offering as healthcare providers refuse treatment, ultimately leading to a loss of

customers for the insurance network.

       190.    Such an agreement, standing alone, would also expose a health insurance network

to significant time and cost expenditures associated with repricing negotiations. While healthcare

providers cannot effectively negotiate with the MultiPlan Cartel due to the volume of MultiPlan

repricing offers, a single insurance network acting alone would face significant pushback from

providers. The insurance network acting alone would also be less likely to secure deals to bring

healthcare providers in-network, further reducing the value and potential earnings of the insurance

network.

       191.    These obvious impacts would reduce profits significantly more than any savings

generated by the out-of-network underpayment agreement with MultiPlan. The only way the

agreement with MultiPlan is not economically self-defeating is if all insurance networks agree to

join the MultiPlan Cartel.




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       192.    Second, the commercial health insurance networks which have joined the

MultiPlan Cartel have refrained from engaging in self-interested, unilateral conduct that would

have destabilized the cartel.

       193.    For example, MultiPlan’s competitor-clients have abandoned efforts to in-source

claims repricing activities despite the vast savings that such efforts would generate and—in at least

one case—despite spending considerable sums actually developing an alternative claims repricing

product.

       194.    As the nation’s single largest commercial health insurance provider,

UnitedHealthcare could easily analyze its own historical claims database to ascertain the most

efficient pricing levels for out-of-network reimbursements. It could then reprice claims received

from healthcare providers based upon that data. This would allow UnitedHealthcare to eliminate

MultiPlan as a middle man, saving as much as 9.75% on each repriced out-of-network claim, an

amount equal to hundreds of millions of dollars per year.

       195.    In 2021, UnitedHealthcare created a product to do just that. It was known internally

as Naviguard. One analyst described Naviguard as “an in-house replacement for MultiPlan.”

       196.    UnitedHealthcare developed a “roadmap” to terminate its contract with MultiPlan

by 2023 in anticipation of Naviguard coming online.           That plan was ultimately scrapped.

UnitedHealthcare renewed its contract with MultiPlan in January 2023 instead.

       197.    UnitedHealthcare’s decision makes no economic sense absent a conspiracy.

UnitedHealthcare, like all commercial payors, has a unilateral economic incentive to compete

against other health insurance networks to ensure that its insureds can see any healthcare provider

out-of-network and must therefore pay competitive reimbursement rates.            UnitedHealthcare

developed Naviguard to assess and pay claims unilaterally consistent with that economic incentive.




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Instead of following through with bringing Naviguard online, UnitedHealthcare abandoned the

project and effectively recommitted itself to the MultiPlan Cartel by renewing its contract with

MultiPlan to use MultiPlan’s out-of-network claims suppression technology.

        198.    UnitedHealthcare’s expenditures on Naviguard and its subsequent decision not to

bring claims repricing in-house and instead renew its contract with MultiPlan are actions against

self-interest, which only make sense in the context of a horizontal conspiracy wherein MultiPlan

is fixing prices amongst payors for out-of-network reimbursements.

                g.      Using Sweetheart Deals to Enforce the Cartel

        199.    Because a cartel agreement is against public policy, members of the cartel cannot

go to court to enforce their illicit agreement. As a result, they need to create informal structures

of detecting attempts to disrupt the cartel agreement and ways of enforcing the cartel agreement

by heading-off those attempted disruptions.

        200.    UnitedHealthcare’s plan to abandon the MultiPlan Cartel and to use its in-house

Naviguard system to reprice out-of-network claims was one such attempted disruption to the cartel

agreement. Having the largest healthcare payor in the United States defect from the MultiPlan

Cartel would inevitably destabilize the agreement and might cause other payors to reevaluate their

participation in the cartel.

        201.    So, MultiPlan bought off UnitedHealthcare with a sweetheart deal.             Upon

information and belief, in 2022 MultiPlan and UnitedHealthcare negotiated a new contract for

repricing services that went into effect in 2023. MultiPlan gave UnitedHealthcare extremely

favorable commercial terms, allowing UnitedHealthcare to capture nearly all of the underpayments

generated by MultiPlan’s claims suppression methodology.




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         202.   This sweetheart deal was so good for UnitedHealthcare that it caused a temporary

drop in MultiPlan’s financial performance, which MultiPlan executives discussed during quarterly

earnings calls with investors in the fourth quarter of 2022 and the first quarter of 2023. In

MultiPlan’s 2022 fourth quarter earnings call, MultiPlan’s CEO Dale White explained, “we have

been anticipating that a multiyear contract renewal with one of our largest customers would mute

our 2023 revenue growth” and that the contract renewal would be “a headwind against growth in

2023.”

         203.   As a result of MultiPlan’s efforts to keep its largest customers using its repricing

tools and in the cartel, in the first quarter of 2023 MultiPlan experienced a 20.6% drop in revenues

versus the first quarter of 2022 and a 30.7% drop in earnings before interest, taxes, depreciation,

and amortization versus the first quarter of 2022.

         204.   However, MultiPlan was willing to sacrifice short-term revenues and profits in

order to stabilize the cartel and keep the largest cartel members in the fold. As MultiPlan CEO

Dale White explained during MultiPlan’s earning call for the first quarter of 2023, renewing

repricing agreements with the largest healthcare payors in the United States made MultiPlan’s

leadership “increasingly confident that our revenues are stabilizing and poised for growth over the

next several years.”

         205.   In an apparent effort to sweeten the deal and keep UnitedHealthcare in the cartel,

on June 27, 2023, MultiPlan announced that John Prince, the recently retired President of Optum,

UnitedHealthcare’s health services subsidiary, would join MultiPlan’s board of directors.

         206.   MultiPlan’s efforts to enforce the cartel agreement by buying the loyalty of one of

the largest payors in the cartel appears to have worked. In an August 2, 2023 press release, the

CEO of MultiPlan hailed the second quarter of 2023 as an “inflection point” in which MultiPlan




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“deliver[ed] second quarter results at the high end of our expectations,” leading MultiPlan to

increase its revenue guidance for investors for 2023.

       207.    MultiPlan’s willingness to sacrifice short-term profits does not make economic

sense absent its knowledge that perpetuating its conspiracy to underpay healthcare providers would

pay off in the long run.

               h.      Exchange of Competitively Sensitive Information

       208.    Competitors like the members of the MultiPlan Cartel are unlikely to exchange

large volumes of competitively sensitive pricing information in the absence of a cartel agreement.

       209.    However, MultiPlan and competing commercial health insurance companies have

agreed to exchange data regarding claims submitted by healthcare providers, reimbursement offers

made by commercial health insurance companies in response to those submitted claims, and the

actual amount paid in response to those claims.

       210.    The information exchanged by MultiPlan and the other members of the MultiPlan

Cartel is exactly the type of information exchange that the courts have recognized is likely to have

anticompetitive effects. See, e.g., United States v. U.S. Gypsum Co., 438 U.S. 441, n.16 (1978)

(“Exchanges of current price information, of course, have the greatest potential for generating anti-

competitive effects.”); Todd v. Exxon Corp., 275 F.3d 191, 212 (2d Cir. 2001) (Sotomayor, J.)

(“Price exchanges that identify particular parties, transactions, and prices are seen as potentially

anticompetitive.”). First, the data exchanged is real-time pricing data, transmitted to MultiPlan

automatically and expeditiously through electronic data links from its health insurance clients.

Second, the data exchanged is specific to commercial insurance claims. Third, the data exchanged

is not publicly available—although hospitals do publish some pricing information online, it is not




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updated in real-time. Fourth, the data is granular and unblinded—meaning that MultiPlan knows

exactly what its competitors are charging for specific medical services and procedures.

       211.    Here, MultiPlan uses this data to explicitly share confidential pricing information

between members of the MultiPlan Cartel in order to fix prices. As discussed previously, when

seeking to establish UnitedHealthcare’s out-of-network reimbursement rates, MultiPlan told

UnitedHealthcare that prices set at 350% of Medicare rates would “be in line with another

competitor” and “leading the pack along with another competitor.”

       212.    Competing companies would not risk sharing individual, real-time, and

competitively sensitive pricing information with their rivals. Nor would competing companies

pay millions of dollars to MultiPlan while simultaneously sharing their competitively sensitive

information with MultiPlan absent an agreement to restrain competition.           The information

exchange operated by MultiPlan and the other members of the MultiPlan Cartel is more consistent

with an agreement to restrain trade than competition on the merits. Therefore, this type of

information exchange is circumstantial evidence of a cartel agreement among competitors.

               i.     Customary Patterns, Formulas, and Leadership

       213.    MultiPlan has a long history of facilitating and stabilizing the MultiPlan Cartel.

       214.    MultiPlan boasts that it is “deeply embedded into [its Co-Conspirators’] claims

platforms.”

       215.    MultiPlan emphasizes the long-term nature of its relationships with its analytics

and claims repricing clients. In a June 28, 2023 investor presentation it stated that its “Average

Length of Large Customer Relationships” was over 25 years.




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       216.     In the words of Churchill Capital’s Chief Executive Officer, Michael Klein,

MultiPlan has achieved “payer lock” due to MultiPlan’s deep and long-standing integration into

its clients’ claims processing operations.

       217.     For over a decade, commercial health insurance providers with collective

dominance in the U.S. Commercial Reimbursement Market have been locked into multi-year

contracts to use MultiPlan’s claims repricing services. MultiPlan’s consistent public statements

trumpeting this high level of market participation and promoting acceptance rates of its

reimbursement offers in the high 90th percentile provide reassurances regarding the stability of the

cartel to its members.

       218.     The MultiPlan Cartel has a long-standing and well-functioning ringleader in

MultiPlan. MultiPlan takes the lead in recruiting new members into the cartel, shares information

with them about the advantages of collusive pricing, threatens that they will suffer financial

disadvantage by not joining or defecting from the cartel, and enforces price discipline by

encouraging cartel members to match the “aggressive” repricing settings of their competitors.

       219.     These customary patterns, formulas, and leadership are circumstantial evidence of

agreements and a conspiracy to suppress reimbursement rates.

       B.       Alternatively, the MultiPlan Cartel Is a “Hub-and-Spoke” Cartel Agreement

       220.     Even if the MultiPlan Cartel were not a horizontal price-fixing agreement between

competitors, it would be a “hub-and-spoke” agreement that is likewise per se illegal under the

Sherman Act. Under this mode of analysis, MultiPlan is the “hub” of the conspiracy and the Co-

Conspirator insurance companies’ agreements with MultiPlan to reprice their claims are the

“spokes.” The “rim” of the conspiracy is the agreement between the Co-Conspirator insurance




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companies to use MultiPlan’s repricing methodologies to suppress out-of-network reimbursement

payments.

       221.    Prior to the Co-Conspirators joining the MultiPlan Cartel, commercial health

insurance providers made several attempts to underpay healthcare providers through unilateral

action. For example, before it joined the MultiPlan Cartel in 2017, in May 2015 UnitedHealth

paid $11.5 million to resolve claims that it used down-coding software algorithms, stalling tactics,

and other unfair business practices to underpay healthcare providers in Connecticut, New York,

North Carolina, and Tennessee. Likewise, in September 2015, UnitedHealth agreed to pay $9.5

million to settle claims that it systematically underpaid out-of-network claims in California.

However, these unilateral efforts could be thwarted by healthcare providers, because the providers

could elect to provide non-emergency care to patients from other health insurance networks.

       222.    Commercial health insurance companies realized the need for collective action.

Initially, UnitedHealthcare attempted to solve that collective action problem using its subsidiary,

Ingenix. However, when the New York State Attorney General shut down the Ingenix scheme,

commercial health insurers needed a new way to agree among themselves to underpay out-of-

network claims.

       223.    MultiPlan solved that problem. It advertised itself to insurance companies as a hub

that could be used to collectively reduce out-of-network payments to healthcare providers. For

example, as noted above, MultiPlan told UnitedHealthcare that many of UnitedHealthcare’s

competitors were using MultiPlan’s repricing services to slash out-of-network reimbursement

rates. MultiPlan further advised UnitedHealthcare on the pricing levels and methodologies

adopted by its competitors: it told UnitedHealthcare that prices set at 350% of Medicare rates

would “be in line with another competitor” and “leading the pack along with another competitor.”




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MultiPlan eventually reached an agreement to reprice UnitedHealthcare’s claims which put

UnitedHealthcare, in its own words, in the “middle of the pack of its peers.” Thus, one spoke of

the conspiracy was formed—the agreement between MultiPlan and UnitedHealthcare to suppress

out-of-network reimbursements in reference to their competitors’ pricing levels and

methodologies.

       224.    MultiPlan persuaded the vast majority of large competing health insurance

companies to become “spokes” in the conspiracy through similar inducements. MultiPlan has

contracts with the “top 15” health insurance payors in the nation and agreements with over 700

insurance payors to reprice their claims. Each of these contracts between a health insurance payor

and MultiPlan forms another “spoke” in the MultiPlan Cartel’s “hub-and-spoke” conspiracy.

       225.    MultiPlan uses similar tactics to facilitate collusion along the rim of the alleged

hub-and-spoke conspiracy. MultiPlan informs each of the payors that other major payors are using

MultiPlan’s repricing services to suppress out-of-network claims, that those payors are generating

substantial revenues by underpaying out-of-network claims, and that the payor can bring itself into

“alignment” with the rest of the industry and be in the “middle of the pack” on out-of-network

claims suppression by working with MultiPlan.          Thus, each of the payors knows that its

competitors have considered or are considering the same terms offered by MultiPlan—i.e.,

suppressing out-of-network claims payments and splitting the revenues generated by doing so.

Each payor has a strong motive to enter into the conspiracy because they know that without

substantially unanimous action, agreeing to unilaterally cut out-of-network reimbursement

payments would be economically self-defeating. And, in the end, each payor agrees to the same

course of conduct (suppressing out-of-network claims via an agreement with MultiPlan), which




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constitutes an important departure from their prior practice of using UCR or FAIR Health

benchmarks to compete against one another on out-of-network reimbursement payments.

         226.   Importantly, there is no valid business reason for each of MultiPlan’s Co-

Conspirators to have entered into agreements with MultiPlan to cut reimbursements paid to out-

of-network healthcare providers. Larger payors could have created their own in-house repricing

tools (and some came close to doing so). Smaller payors could have used the FAIR Health

benchmark to reprice claims. The only plausible explanation for every healthcare payor of any

consequence agreeing to use MultiPlan’s out-of-network claims suppression methodology is that

MultiPlan provided them with assurances that they could agree to do so with the common

understanding that they would not be undermining one another via competition on reimbursement

rates.

         227.   As discussed above, there is extensive circumstantial evidence that health insurance

companies have agreed with each other to use MultiPlan’s “repricing” methodology to suppress

out-of-network reimbursement payments to healthcare providers, thus forming the “rim” of the

conspiracy. This includes evidence that MultiPlan facilitated a parallel transition among insurance

companies from a competitive regime to a coordinated regime, and a variety of “plus factors” that

tend to exclude the possibility that this parallel conduct was the result of independent action.

         C.     The MultiPlan Cartel Harms Competition Throughout the Relevant Market

                and Has No Procompetitive Effects

         228.   By underpaying healthcare providers throughout the United States, MultiPlan and

the MultiPlan Cartel harmed market-wide competition in the U.S. Commercial Reimbursement

Market. Because the MultiPlan Cartel’s agreement suppresses reimbursements paid to healthcare

providers, like AHS, MultiPlan and the MultiPlan Cartel made lower reimbursement payments to




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healthcare providers than the cartel members would have made but for the existence of the cartel

agreement. Were it not for the cartel, members of the MultiPlan Cartel would have competed

against one another to provide adequate compensation to healthcare providers for out-of-network

care so that they could guarantee their insureds access to a wide variety of healthcare professionals

within or outside of their networks.

           229.   In addition, faith-based and non-profit hospitals, such as AHS, have board and legal

mandates to spend funds on community healthcare improvements, including free medical care and

clinics.     Because AHS and other healthcare providers throughout the United States were

systematically underpaid as a result of the MultiPlan Cartel, they have less funds to devote to those

charitable efforts.

           230.   Healthcare providers cannot avoid the anticompetitive effects of the MultiPlan

Cartel. Providers have no practical ability to reject MultiPlan’s take-it-or-leave-it terms and

attempt to negotiate a better reimbursement rate. As one healthcare provider explained, “When

we reject a [MultiPlan proposal], it takes months to get any payment and we never get paid more

than the amount of the [original MultiPlan proposal].”

           231.   MultiPlan also threatens to drop their reimbursements if healthcare providers do

not accept their cut-rate offers. In a fax to a healthcare provider, MultiPlan gave the provider eight

days to respond to a low-ball offer. But the fax warned, “Please note that if you do not wish to

sign the attached proposal . . . this claim is subject to a payment as low as 110% of Medicare rates

based on the guidelines and limits on the plan for this patient.” In other words, if the provider

disagrees with MultiPlan’s offer, MultiPlan will lower the reimbursement rate even further.

           232.   While the state and federal laws discussed above establish procedures for providers

to dispute reimbursement amounts through arbitration, the sheer volume of claims that are




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underpaid by the MultiPlan Cartel make arbitrating each individual claim practically and

financially impossible.

       233.    MultiPlan also “erect[s] a bureaucratic layer so thick and complicated that few can

navigate it.” MultiPlan relies on the fact that medical billers overseeing a massive flow of out-of-

network claims will not have the time to fight back on individual claims. MultiPlan disputes and

reprices nearly every out-of-network claim, giving medical billers less than 10 days to respond to

those offers. When a medical biller asks the insurer how MultiPlan reprices its claims, the

insurance company explains that it is not responsible for MultiPlan’s pricing. When the medical

biller tries to negotiate with MultiPlan, MultiPlan tells the biller that it is not the insurer and does

not have authorization to negotiate with the healthcare provider.

       234.    The MultiPlan Cartel’s overwhelming market power permits it to enforce strict

compliance with its pricing offers. According to a 2018 MultiPlan study, 99.4% of all out-of-

network claims for inpatient treatment that are repriced by Data iSight are accepted by healthcare

providers. MultiPlan claims that as little as 2% of Data iSight’s repricing recommendations are

appealed for all claim types.

       235.    In addition to suppressing payments to healthcare providers for out-of-network

claims, the MultiPlan Cartel also harms consumers of healthcare services because (a) those

underpayments limit the amount of revenue that healthcare providers can spend on improving care

or offering charitable care and (b) those underpayments cause healthcare providers to fail and

thereby limit the supply of healthcare goods and services available to consumers. For example, in

a separate lawsuit filed in San Francisco County Superior Court, VHS Liquidating Trust alleges

that Verity Health System went bankrupt as a result of the MultiPlan Cartel. On August 31, 2018,

Verity Health System filed for Chapter 11 bankruptcy. As a part of that bankruptcy process, on




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January 6, 2020, Verity Health System announced the closure of the St. Vincent Medical Center

in Los Angeles, California.

       236.    In addition, the MultiPlan Cartel’s effect of slashing out-of-network

reimbursements suppresses revenue for rural hospitals that are in serious danger of failing—cutting

off a key source of healthcare goods and services for many communities. According to the Center

for Healthcare Quality and Payment Reform, between 2005 and 2019 over 150 rural hospitals

closed. Another 25 rural hospitals closed between 2020 and 2022, despite the COVID-19

pandemic driving record demand for hospital services. Many of the rural hospitals that are still

operating are doing so on shoestring budgets. More than 600 rural hospitals, representing nearly

30% of all rural hospitals in the United States, are at risk of closing. Two hundred rural hospitals

are at immediate risk of closing because they are losing money on patient services and have more

debts than assets.

       237.    Since rural hospitals treat fewer patients than urban and suburban hospitals, they

have a higher cost of care per patient. As a result, many rural hospitals are at risk of closing

because they receive inadequate reimbursements for their services. Therefore, the MultiPlan

Cartel’s agreement to suppress reimbursement rates to all healthcare providers, including rural

hospitals, threatens to drastically cut the supply of healthcare services in several parts of the

country. If rural hospitals fail because of the MultiPlan Cartel, the cost of healthcare will increase

throughout the United States because patients in areas previously served by those hospitals will

only seek acute medical care when they are experiencing very severe symptoms, raising the cost

of care.

       238.    Furthermore, the MultiPlan Cartel takes advantage of hospital emergency

departments that cannot lawfully avoid the cartel’s underpayment scheme.




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       239.     Emergency department utilization is extremely high throughout the United States.

According to the United States Centers for Disease Control and Prevention, there were 131.2

million emergency department visits in 2020, equating to 40.5 visits per 100 people. A total of

39.8 million emergency department visits were covered by some form of commercial health

insurance network.

       240.     As of 2018, there were approximately 4,500 emergency departments at hospitals

throughout the United States staffed by approximately 45,000 physicians.

       241.     Demand for emergency department medical services is highly inelastic. Patients

often have little choice as to which hospital they are taken and are rarely able to avoid or defer

emergency medical treatment.

       242.     Emergency departments also play an increasing role in the provision of healthcare

services.    From 1993 to the present, emergency department visits have grown faster than

population growth, and emergency departments have become the primary way that patients are

admitted to hospitals.

       243.     Although emergency departments face increasing and inelastic demand, hospitals

must serve all patients that come to the emergency department. Under the federal Emergency

Medical Treatment and Labor Act (“EMTALA”), 42 U.S.C. §§ 1395dd(a)–(b), (d), and (h),

hospitals and physicians who staff emergency medical departments have a duty to “provide for an

appropriate medical screening examination” when an individual comes to the emergency

department. If “the individual has an emergency medical condition,” then they are required to

“stabilize the medical condition” without inquiry into “the individual’s method of payment or

insurance status.” Id.




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       244.    Hospitals are also subject to civil liability for violating EMTALA.                Id.

§ 1395dd(d)(2)(A). Under the law, “any physician who is responsible for the examination,

treatment, or transfer of an individual in a participating hospital” who negligently violates

EMTALA is subject to civil monetary penalties of up to $50,000 per violation.                     Id.

§ 1395dd(d)(1)(B); see also Hardy v. N.Y. City Health Hosp. Corp., 164 F.3d 789, 792 (2d Cir.

1999) (EMTALA was designed “to prevent ‘patient dumping,’ the practice of refusing to provide

emergency medical treatment to patients unable to pay”).

       245.    State laws contain similar requirements. New York law requires hospitals to

“assure that all persons presenting for emergency services receive emergency health care that

meets generally accepted standards of practice,” N.Y. Comp. Codes R. & Regs. Tit. 10,

§ 405.19(e)(1), while Florida law states that “[e]very general hospital which has an emergency

department shall provide emergency services and care for any emergency medical condition when:

(1) [a]ny person requests emergency services and care; or (2) [e]mergency services and care are

requested on behalf of a person[.]” Fla. Stat. § 395.1041(3)(a). “In no event shall the provision

of emergency services” by the hospital’s emergency department “be based upon, or affected by,

the person’s . . . insurance status, economic status, or ability to pay for medical services[.]” Id.

§ 395.1041(3)(f). Any hospital official or physician who knowingly violates those statutory

provisions may be charged with a second-degree misdemeanor. Id. § 395.1041(5)(c). In addition,

state regulatory authorities may strip physicians of their medical license for failing to comply with

those requirement and can impose an administrative fine of $10,000 per violation.                 Id.

§ 395.1041(5)(a).

       246.    Moreover, although commercial insurance networks typically require medical

providers to seek preauthorization before providing certain medical services, hospitals do not need




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to seek insurance preauthorization prior to providing emergency medical services. See 28 U.S.C.

§ 9816(a)(1)(A) (requiring that emergency services be covered “without the need for any prior

authorization determination”); N.Y. Ins. Law § 3221(k)(4)(A)(i) (“Every group policy . . . shall

include coverage for services to treat an emergency condition . . . without the need for any prior

authorization determination”); Fla. Stat. § 627.64194(2)(A) (an insurer “[m]ay not require prior

authorization” for emergency services).

       247.    Because hospital emergency departments are required to treat all persons seeking

emergency medical treatment, they rely on commercial insurance networks like the MultiPlan

Cartel members to fairly reimburse them for out-of-network charges at usual and customary

reimbursement rates.

       248.    Courts recognize that this statutory requirement to treat all persons seeking

emergency treatment is ripe for abuse by commercial health insurance networks. See, e.g., N.Y.

City Health & Hosps. Corp. v. Wellcare of N.Y., Inc., 937 N.Y.S.2d 540, 545 (N.Y. Sup. Ct. 2011)

(“An insurance company is unjustly enriched if it fails to pay the hospital in full for the costs

incurred in rendering the necessary treatment of the insurer’s enrollees.”).

       249.    By colluding to underpay providers, reimbursing the minimum possible amount to

still maintain relationships with hospitals and emergency healthcare providers, the MultiPlan

Cartel has been systematically bleeding emergency rooms dry.

       250.    This dynamic is only exacerbated in times of national public health crisis like the

COVID-19 pandemic. While hospital emergency departments generate a massive amount of out-

of-network claims from saving patient lives, the MultiPlan Cartel generates massive profits for

MultiPlan and other cartel members by systematically underpaying those out-of-network claims.




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       251.    As a result of the MultiPlan Cartel, commercial insurance networks typically pay

50% or less of the value of emergency department out-of-network claims. According to an analysis

of a sample of 10% of Florida emergency department visits between 2014 and 2015, the average

emergency physician charge was $679. That charge is not exorbitant. FAIR Health, a database

that contains publicly available data based on billions of health insurance claims, calculates the

80th percentile charge for a high acuity emergency department visit in Florida to be $950. Despite

that fact, commercial insurance networks’ average out-of-network payment on those claims was

$307. As a result, an emergency physician in Florida provides an average of $138,000 in

uncompensated care each year.

       252.    MultiPlan attempts to justify its behavior as intended to keep prices down for

healthcare consumers, but that is not the case. As an August 5, 2020 analysis explained:

“Theoretically, MultiPlan’s harsh negotiation tactics should be good for rising American health

costs; insurers are supposed to lower costs by negotiating lower prices on behalf of the patient.

But instead, MultiPlan acts like a mafia enforcer for insurers, forcing doctors to accept low

payments while insurance premiums for patients . . . somehow continue to rise.”

       253.    In fact, although MultiPlan claims that its out-of-network claims suppression tools

help decrease healthcare costs, the data shows otherwise. According to the Centers for Medicare

and Medicaid Service, in 2016, a year before several large health insurance companies joined the

MultiPlan Cartel, private health insurance expenditures in the United States were $1.03 trillion.

By 2021, private health insurance expenditures in the United States were $1.21 trillion, a 17.48%

increase. By 2025, private health insurance expenditures in the United States are projected to be

$1.53 trillion, a 48% increase over 2016. In short, MultiPlan’s “cost containment” justification




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fails as a factual matter—private health insurance expenditures are ballooning regardless of the

MultiPlan Cartel.

         254.   While MultiPlan and its Co-Conspirators attempt to justify the MultiPlan Cartel as

tackling exorbitant fees charged by hospitals, they tell a different story when they are testifying

under oath.     During a trial, John Haben, the former Vice President of Networks at

UnitedHealthcare, testified that despite UnitedHealthcare’s public position that emergency

department charges are “egregious,” emergency department bills are actually “not a lot of money”

when “you put it in the perspective of saving somebody’s life.” When Mr. Haben was informed

that an emergency department had charged $1,428 for a patient’s medical care and that

UnitedHealthcare, using MultiPlan, had only offered to pay $254 for that claim, Mr. Haben

testified that “$1,400 is not a lot of money,” the emergency department bill was “reasonable,” and

UnitedHealthcare’s MultiPlan-induced offer to pay $254 for that out-of-network service was

“low.”

         255.   Mr. Haben is right: emergency care is highly valuable and can lower total medical

spending for acutely ill patients. A 2020 study in JAMA Network Open using data for Medicare

beneficiaries treated between 2011 and 2016 found that the total cost of all health care for Medicare

beneficiaries admitted to the emergency department declined over that six-year period. See Laura

G. Burke, et al., Trends in Costs of Care for Medicare Beneficiaries Treated in the Emergency

Department from 2011 to 2016, JAMA Network Open (Aug. 2020). As the study’s lead author,

Dr. Laura Burke, an emergency physician at Beth Israel Deaconess Medical Center, explained in

a press release accompanying the paper’s publication: “Too often discussion of the cost of

emergency care fail[s] to consider the bigger picture—that spending on emergency care can save

lives, alleviate suffering and in some instances avoid the need for more expensive hospitalization.




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. . . Emergency physicians treat anyone, anytime and serve as the safety net for the nation’s acute

care system.”

        256.    Therefore, the MultiPlan Cartel harms competition by systematically underpaying

healthcare providers, limiting the amount of revenue that healthcare providers can spend on

improving and expanding care, and putting at-risk healthcare providers closer to bankruptcy.

MultiPlan cannot justify its conduct. MultiPlan does not contain costs. Its cartel has taken

advantage of a rapidly growing healthcare sector to enrich itself at the expense of doctors, nurses,

and patients. And the life-saving care provided by healthcare providers is not “exorbitant” as the

cartel likes to claim (until they are sworn to tell the truth).

        D.      The MultiPlan Cartel is Expanding to Suppress In-Network Reimbursement

                Under Its “MultiPlan 3.0” Scheme

        257.    MultiPlan and its Co-Conspirators are not content with suppressing reimbursement

of out-of-network claims. In a 2020 investor presentation, Mr. Tabak (as the then-CEO) outlined

the company’s vision for “MultiPlan 3.0.”

        258.    With MultiPlan 3.0, MultiPlan plans to “[e]xtend [its] [p]latform” by “[s]caling

adjacent customer segments.” In other words, MultiPlan intends to extend use of Data iSight and

its other claims suppression tools “into [the] in-network cost management segment.” MultiPlan

estimates that extending its analytics business into the in-network segment will generate up to

$1.15 billion in additional annual revenue and up to $720 million in additional annual profits.

        259.    MultiPlan describes MultiPlan 3.0 as a three-part “Enhance, Extend, and Expand”

strategy. This strategy focuses on growth in “existing and key adjacent markets” and aims to

“identify greater savings.” MultiPlan is explicit about who exactly is getting those savings—the

“Enhance” element refers to enhancing MultiPlan’s “cost containment product” to “generate more




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savings for payor customers.” These so-called “savings” for payors (MultiPlan’s Co-Conspirator

customer base) means decreased compensation for providers.

         260.   MultiPlan predicts that MultiPlan 3.0 will result in as “more savings for payor

customers” and double the revenue for MultiPlan.

         261.   On August 28, 2020, MultiPlan announced a new executive structure that would

become effective following its merger with SPAC-vehicle Churchill Capital. It claimed that the

new structure would “facilitate [the] success” of MultiPlan 3.0.

         262.   In its formal announcement of the merger between Churchill Capital and the parent

of MultiPlan, Inc. on October 8, 2020, MultiPlan claimed the deal would position MultiPlan to

“execute on its growth strategy, which aims to significantly grow the company’s total addressable

market from approximately $8 billion to up to $50 billion.” It again cited MultiPlan 3.0, a strategy

that “aims to drive growth by improving existing products and commercial capabilities, scaling

offerings to adjacent customer segments, and adding new product offerings through acquisitions

and investments in new technologies.”

         263.   MultiPlan reported that it was seeing “strong consecutive quarterly growth” as it

began to roll out MultiPlan 3.0. MultiPlan further touted that in the year 2020, it processed $105.4

billion in billed charges and identified approximately $18.8 billion in potential “savings.” That is,

during the height of the COVID-19 pandemic, MultiPlan and its Co-Conspirators collectively

pocketed up to $18.8 billion of the value of services that could have gone to providers on the front

lines.

         264.   During its May 27, 2021 annual stockholder meeting, MultiPlan explained that

Discovery Health Partners would help “expand [its] services and customer footprint” and enable

MultiPlan to develop cost-management tools similar to Data iSight for “in-network claims.”




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       265.    MultiPlan appears to have escalated its efforts in recent months. As MultiPlan’s

current CEO, Dale White, told investors on a February 28, 2023 earnings call: “[I]n 2023, we plan

to launch a new data and analytics service line which we believe holds transformative potential for

MultiPlan. . . . The data and analytics service line will help us . . . expand beyond our commercial

health out-of-network footprint by enabling us to address new flows of in-network commercial

and Medicare Advantage charge volumes and claims, which we anticipate to increase significantly

for MultiPlan by year-end 2023.”

       266.    During a March 2, 2023 presentation, Mr. White elaborated that the in-network

claims suppression capability was a part of a “wish list” from MultiPlan’s competing healthcare

networks. Indeed, Mr. White explained that MultiPlan and its competitors are “sitting across the

table collaborating on . . . what we can do to . . . generate more value and savings for them[.]” In

other words, all members of the MultiPlan Cartel agree that this new product will further enhance

the anticompetitive goals of the cartel.

       267.    MultiPlan also shared its goal to improve its technological capabilities by the end

of 2023 so that it can “take a claim that [] comes in our front door and route[] [it] to the solution

that” most effectively slashes provider reimbursements. Essentially, MultiPlan seeks to ensure

that it is always maximizing the amount it can suppress out-of-network claims.

       268.    MultiPlan has already begun implementing its plan to conspire with other health

insurance networks to slash reimbursements paid to in-network healthcare providers.             In a

customer presentation, MultiPlan bragged that it had repriced 65 million claims annually through

its PPO network. It also bragged that, in 2022, it repriced 1.75 million in No Surprises Act claims,

processed $155.2 billion in medical charges, and identified $22.3 billion in potential “savings.”

That is, because of the MultiPlan Cartel, providers were paid up to $22.3 billion less in 2022.




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MultiPlan has been transparent about the motivations for its new in-network product. It wants to

deepen its collusive relationships with competing networks to short-change and underpay

healthcare providers for in-network claims as well as out-of-network claims. As CEO Dale White

explained at the March 14, 2023 Barclays Global Healthcare Conference, “the opportunity for us

in terms of new revenue is really looking at our existing customers”—i.e., competing networks—

“and collaborating with them on ways to generate more savings”—i.e., ways to pay healthcare

providers less.

          E.       AHS Has Suffered Antitrust Injury and Has Antitrust Standing

          269.     Regardless of whether the MultiPlan Cartel agreement is characterized as an

agreement between horizontal competitors, a hub-and-spoke agreement, or a vertical agreement,

AHS has antitrust standing to bring its claims against MultiPlan and has suffered a classic antitrust

injury.

          270.     AHS suffered direct damages to its business and property as a result of the

MultiPlan Cartel agreement. AHS has sustained, and continues to sustain, significant economic

losses from underpayments made by members of the MultiPlan Cartel and directly caused by the

MultiPlan Cartel agreement. AHS will calculate the full amount of such underpayment damages

after discovery and upon proof at trial. Unless the conduct of MultiPlan and other members of the

MultiPlan Cartel is stopped, AHS will incur future damages via those underpayments.

          271.     MultiPlan’s own filings with the SEC illustrate the harm that the MultiPlan Cartel

has caused to AHS. According to the May 10, 2023 Quarterly Report that MultiPlan filed with

the SEC, MultiPlan processed $18.4 billion in charges from commercial health plans in the first

three months of 2023. During that period, MultiPlan identified $5.3 billion in “savings”—i.e.,

underpayments—that its competitors could make to healthcare providers. MultiPlan estimates that




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its analytics tools—i.e., its agreement with competitors—result in a 61–81% underpayment to

healthcare providers as a percentage of total charges processed. These underpayment percentages

and the billions of dollars in underpayments generated by the MultiPlan Cartel each year indicate

that the cartel has caused massive harm to healthcare providers throughout the United States and

to AHS, specifically.

       272.    MultiPlan’s repricing tools also generate significant underpayments when

compared to traditional methods of repricing out-of-network healthcare claims. An April 2020

study published by the Office of the New York State Comptroller compared UnitedHealthcare’s

average reimbursement payment to a healthcare provider for an out-of-network claim using a UCR

methodology was $225; the average payment using MultiPlan repricing was $96—a 57%

difference. The same study found that, depending on the service provided, reimbursement

payments made using MultiPlan repricing were 1.5 to 49 times lower than UCR rates for that

service.

       273.    A sampling of AHS’s claims payment data illustrates how the MultiPlan Cartel

causes repeated economic harm to AHS. In nearly every case, MultiPlan starts by offering to

underpay AHS’s claims by 80–90%.

    Date of Service        AHS Submitted          MultiPlan Allowed          Percentage
                              Claim                    Amount               Underpayment
     June 26, 2023             $2,477.63                $409.23                  83.5%
     June 26, 2023             $6,461.72                $602.68                  90.7%
     June 27, 2023             $4,444.07                $470.63                  89.4%
     June 28, 2023             $5,753.57                $783.73                  86.4%
     June 28, 2023             $7,601.84                $783.73                  90.7%
     June 28, 2023             $8,413.86                $899.22                  89.3%
     June 28, 2023             $1,599.09                $301.87                  80.6%
     June 28, 2023             $7,790.57                $602.72                  92.3%



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    Date of Service         AHS Submitted           MultiPlan Allowed           Percentage
                               Claim                     Amount                Underpayment
     June 28, 2023              $3,177.07                 $470.64                   85.2%
     June 30, 2023              $7,338.64                 $783.71                   89.3%
      July 1, 2023              $5,662.18                 $783.71                   86.2%
      July 3, 2023             $15,940.46                $1,131.61                  92.9%
      July 4, 2023              $1,801.99                 $301.87                   83.2%
      July 5, 2023              $2,535.39                 $301.86                   88.1%
      July 5, 2023              $5,025.21                 $607.69                   87.9%
      July 6, 2023             $14,758.02                $1,131.62                  92.3%
      July 6, 2023             $13,163.06                 $920.82                    93%
      July 6, 2023              $4,489.48                 $470.66                   89.5%
      July 6, 2023              $4,623.27                 $602.70                    87%
      July 7, 2023              $2,918.83                 $470.62                   83.9%
      July 8, 2023              $3,093.29                 $470.63                   84.8%
      July 8, 2023              $5,556.27                 $470.65                   91.5%
      July 9, 2023              $9,925.87                 $602.68                   93.9%


       274.    Even if AHS were able to negotiate with MultiPlan over these repricing offers, the

best it can hope for is being forced to accept an underpayment of 30% or more.

       275.    AHS’s injuries are of the type that the antitrust statutes were intended to forestall.

Namely, AHS was harmed because its employees were underpaid by members of the MultiPlan

Cartel because MultiPlan and other members of the cartel agreed to suppress payments to

healthcare providers for out-of-network claims. The Supreme Court, U.S. Courts of Appeals, and

District Judges in this Court have long recognized that agreements to restrain pricing competition

are illegal under Section 1 of the Sherman Act.

       276.    There are no more direct victims of the MultiPlan Cartel than AHS. AHS directly

employs the healthcare providers that staff its hospitals. Those doctors and nurses provided



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medical goods and services to patients at AHS facilities. AHS submitted claims directly to

members of the MultiPlan Cartel for reimbursement. Acting on direction from MultiPlan and

pursuant to their anticompetitive agreement, members of the MultiPlan Cartel systematically

underpaid AHS for those claims. Were it not for the MultiPlan Cartel agreement, AHS would

have been compensated fairly and at a competitive level for those claims.

       277.    There is no potential for speculative damages, duplicative recovery, or complex

apportionment of damages. Each claim that AHS submitted to members of the MultiPlan Cartel

for out-of-network goods and services was underpaid compared to the amount that AHS would

have been paid as a reimbursement but for the cartel agreement. When AHS was systematically

underpaid for its out-of-network claims, it did not have the practical or legal ability to obtain the

balance of those charges from the patient or any other payor. AHS does not engage in balance

billing on those charges for several reasons. First, in December 2020, Congress enacted the No

Surprises Act as a part of the Consolidated Appropriations Act of 2021. The No Surprises Act

bans balance billing for out-of-network providers and facilities without prior authorization.

Second, even before the passage of the No Surprises Act, state laws and regulations restricted AHS

from balance billing for such a substantial volume of its charges. Therefore, AHS generally does

not balance bill for out-of-network claims. Third, the MultiPlan Cartel explicitly conditions

acceptance of its take-it-or-leave-it reimbursement payments for out-of-network claims on AHS

not balance billing for those claims. So, by definition, every time that the MultiPlan Cartel

underpaid AHS, the cartel also restricted AHS from seeking to balance bill for those same charges.

       278.    AHS is the most efficient enforcer of the antitrust laws with respect to the MultiPlan

Cartel. AHS was directly injured when it was underpaid for submitted out-of-network claims due

to the cartel agreement. The damages that AHS suffered are not contingent, speculative, or




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complex. Due to the MultiPlan Cartel’s own conduct, and as a practical and legal matter, AHS

cannot seek payment for these charges from any other source.

        279.     AHS suffered antitrust injury as a result of the MultiPlan Cartel. As explained

above, the actions of MultiPlan and the MultiPlan Cartel have directly harmed AHS. For decades,

federal courts have recognized that agreements between competitors to underpay providers for

goods and services are illegal per se because buyers’ cartels are so pernicious that they will almost

always harm competition.

        F.       Fraudulent Concealment

        280.     From at least July 1, 2017 through the present, MultiPlan and members of the

MultiPlan Cartel have affirmatively and fraudulently concealed the existence of the MultiPlan

Cartel from AHS by various means and methods.

        281.     MultiPlan colludes with its Co-Conspirators and competitors by entering into

horizontal agreements to tamp down reimbursement payments to providers. AHS is not a party to

those agreements. Due to non-disclosure and confidentiality clauses in the contracts, AHS did not

access, and could not have reasonably accessed, the underlying terms that would have alerted AHS

of a potential antitrust claim.

        282.     Moreover, MultiPlan publicly disseminates misleading and false information to

cover up the fact that it is a commercial health insurance company, thereby hiding the fact that it

was colluding with its competitors (other health insurance companies) to suppress payments to

providers.

        283.     The landing page of MultiPlan’s website currently states prominently at the top of

the page: “We are not an insurance company” (original emphasis). MultiPlan’s website also




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states: “MultiPlan is not a health insurance company and does not sell insurance directly or

indirectly through agents or brokers” (original emphasis).

       284.    In the “About MultiPlan” section of its press releases, MultiPlan also

(mis)characterizes itself as merely a “partner” to health insurance companies and describes those

companies only as MultiPlan’s “clients[].” MultiPlan does not mention its own role as a health

insurance company.

       285.    These statements are highly misleading at best, if not entirely inaccurate. MultiPlan

is a health insurance company. MultiPlan has one of the oldest and largest PPO networks in the

United States. By MultiPlan’s own account in a 2020 presentation, MultiPlan became “the largest

independent primary PPO network in [the] US” as early as 2006.

       286.    MultiPlan’s network works like other health insurance networks. Users pay a fee

to access the healthcare providers in MultiPlan’s PPO network, and MultiPlan administers and

adjudicates claims made for medical services in that network. The only difference is that MultiPlan

chooses to negotiate with other health insurance companies to access its network instead of

employers or individual subscribers.     MultiPlan’s claims that it is “not a health insurance

company” are simply untrue.

       287.    MultiPlan’s statements made to AHS and the public that MultiPlan is “not an

insurance company” were false and MultiPlan intended for AHS, other healthcare providers, and

the public to rely upon them.

       288.    AHS exercised reasonable diligence at all times since July 1, 2017, but it had no

reason to suspect wrongdoing by MultiPlan until (a) the VHS Liquidating Trust filed a California-

law antitrust claim against MultiPlan in San Francisco County Superior Court on September 8,

2021 and (b) a March 7, 2022 article raised questions regarding MultiPlan’s antitrust compliance.




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See The Capitol Forum, MultiPlan: Company’s Information Sharing, Meetings Practices Could

Raise Antitrust Concerns, Experts Say (March 7, 2022), https://thecapitolforum.com/multiplan-

companys-information-sharing-meetings-practices-could-raise-antitrust-concerns-experts-say/.

These two events reasonably put AHS on notice that it may have antitrust claims against MultiPlan.

AHS could not have discovered the MultiPlan Cartel at an earlier date by the exercise of reasonable

diligence because of the deceptive practices and techniques described above, including

MultiPlan’s multiple misleading statements that it is not a health insurance company, to conceal

the existence of the cartel.

        289.    Reimbursement payments to healthcare providers are not exempt from the antitrust

laws, and thus, before these recent events, Plaintiff reasonably considered the market for

reimbursement payments from commercial healthcare networks to be a competitive industry.

Accordingly, a reasonable person under the circumstances would not have been alerted to begin to

investigate the legitimacy of MultiPlan’s agreements with other commercial insurance networks.

        290.    Nor did recent lawsuits against MultiPlan alert AHS to any federal antitrust claims,

as none revealed the true nature of MultiPlan’s relationship with other insurance companies. For

example, Plastic Surgery Center, P.A. v. Cigna, et al., 3:17-cv-2055(FLW)(DEA) (D.N.J.), made

claims related to in-network claims—not out-of-network claims—and did not allege antitrust

violations. Hott v. MultiPlan, Inc., 21 Civ. 02421 (LLS) (S.D.N.Y.), and LD v. United Behavioral

Health, 4:20-cv-02254-YGR (N.D. Cal.), both raised grievances concerning MultiPlan’s out-of-

network reimbursement rates to healthcare providers, but did not allege that the reason for the low

rates was that MultiPlan entered into agreements with its competitors to suppress payments.

Pacific Recovery Solutions v. United Behavioral Health, 4:20-cv-02249 YGR (N.D. Cal.), alleged

antitrust violations related to out-of-network reimbursements, but based on an inability to collect




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unpaid balances from patients rather than collusion between competitors to tamp down payments

to providers.

       G.       Continuing Violation

       291.     MultiPlan’s conduct has also resulted in a continuing violation against AHS.

       292.     Following its initial combination with its Co-Conspirators, MultiPlan has

committed overt acts, each of which constitutes part of the ongoing violation.

       293.     Members of the MultiPlan Cartel met frequently to refine their cartel agreement

and to ensure that the agreement was effective in suppressing out-of-network reimbursement

payments to healthcare providers. Members of the MultiPlan Cartel met during Client Advisory

Board meetings to discuss the effectiveness of MultiPlan’s products in cutting out-of-network

payments to healthcare providers. MultiPlan representatives also met weekly or daily with

executives at UnitedHealthcare concerning out-of-network reimbursements.

       294.     Members of the MultiPlan Cartel took steps to maintain and adjust their

anticompetitive agreement by renewing contracts with MultiPlan for out-of-network claim

suppression and changing the agreed-upon methodology that MultiPlan would use to suppress out-

of-network reimbursement payments. Indeed, MultiPlan told investors in May 2023 that, in the

short period between Q3 2022 and Q1 2023 alone, MultiPlan “renewed multiyear contracts with 3

of our larger customers.” According to MultiPlan, “those 3 contracts accounted for more than

50% of [MultiPlan’s] revenue.” These new agreements that solidify and perpetuate the MultiPlan

Cartel are continuing violations of the antitrust laws.

       295.     MultiPlan Cartel members also imposed shared savings agreements on employee

benefits plans to ensure that the cartelists would generate profits by cutting out-of-network

reimbursement payments.




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        296.    MultiPlan’s overt actions and the overt actions of its fellow cartelists were new acts

beyond the initial cartel agreement that were necessary to perpetuate the conspiracy. Those overt

acts continued from at least July 1, 2017 through the present. By constantly renewing and refining

their agreement to suppress out-of-network reimbursement payments, the members of the

MultiPlan Cartel inflicted new and accumulating injury on AHS.

VII.    Causes of Action

                                  FIRST CLAIM FOR RELIEF

                HORIZONTAL AGREEMENTS IN RESTRAINT OF TRADE

                          (Section 1 of the Sherman Act, 15 U.S.C. § 1)

        297.    AHS reincorporates and realleges by reference the preceding paragraphs, as though

fully set forth herein.

        298.    Beginning at least as early as July 1, 2017 and through the present, MultiPlan

engaged in a continuing contract, combination, or conspiracy with the other members of the

MultiPlan Cartel to unreasonably restrain interstate trade and commerce in violation of Section 1

of the Sherman Act, 15 U.S.C. § 1.

        299.    MultiPlan is a horizontal competitor with other commercial health insurance

networks in the U.S. Commercial Reimbursement Market.

        300.    MultiPlan’s PPO networks compete against other commercial health insurance

networks to induce out-of-network healthcare providers to treat their plans’ members by paying

competitive reimbursement rates. By entering into the MultiPlan Cartel agreement, MultiPlan and

its Co-Conspirators removed this form of rivalry amongst themselves by illegally coordinating the

reimbursement rates paid to healthcare providers for out-of-network claims.




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       301.    Alternatively, MultiPlan is a potential competitor to the members of the MultiPlan

Cartel because its PPO network could compete against commercial health insurance networks that

market their network directly to subscribers. As noted above, MultiPlan already recruits, accredits,

receives claim information, and calculates reimbursement amounts for claims, it simply has not

chosen to market its network to subscribers at this time.

       302.    But for the MultiPlan Cartel agreement, MultiPlan’s complementary and primary

network PPO offerings would have acted as a meaningful competitive check on commercial

healthcare plans in the United States by competing against them to recruit, credential, and

compensate healthcare providers for their services. The MultiPlan Cartel agreement removed that

competitive check, causing healthcare providers to be paid less for their services.

       303.    MultiPlan and its horizontal competitors in the MultiPlan Cartel, i.e., its Co-

Conspirators, reached agreements to fix the out-of-network reimbursement rates they paid to

healthcare providers, including AHS. AHS has direct evidence of these agreements in the form of

(1) the contracts that the Co-Conspirators signed with MultiPlan to use its claims repricing services

and (2) communications between MultiPlan and its Co-Conspirators surrounding the contracts.

       304.    MultiPlan’s contracts with the Co-Conspirators require it to reprice claims received

by the Co-Conspirators using a methodology common to each member of the MultiPlan Cartel and

in reference to pricing levels mutually adopted by its members. MultiPlan itself uses the same

methodologies and pricing levels when repricing claims received through its own PPO networks.

       305.    MultiPlan also explicitly recommended prices to its Co-Conspirators that were

consistent with and made in reference to the prices of their competitive rivals. MultiPlan’s Co-

Conspirators agreed to accept those price recommendations in full knowledge that other members

of the MultiPlan Cartel had adopted similar prices.




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        306.    Once MultiPlan and its Co-Conspirators agreed on the methodologies and pricing

levels to adopt, MultiPlan began transmitting offers of payment to healthcare providers like AHS

on behalf of its Co-Conspirators. MultiPlan also transmitted similarly suppressed offers of

payment to healthcare providers who submitted claims to its own PPO networks.

        307.    In this manner, the MultiPlan Cartel has fixed prices among competitors in the U.S.

Commercial Reimbursement Market.

        308.    Circumstantial evidence also supports the formation of a horizontal agreement to

fix prices in the U.S. Commercial Reimbursement Market. This evidence includes parallel conduct

among members of the MultiPlan Cartel and “plus factors” which indicate that this conduct was

the result of an anticompetitive agreement, including: high market concentration; barriers to

market entry; ample motive; opportunities to conspire; previous collusion; and actions against self-

interest.

        309.    The MultiPlan Cartel had a conscious commitment to this common scheme.

        310.    Healthcare providers, including AHS, were directly and proximately harmed by the

horizontal price-fixing of the MultiPlan Cartel.         AHS submitted claims for out-of-network

healthcare services to members of the MultiPlan Cartel, and MultiPlan and its Co-Conspirators

conspired to systematically underpay those claims. These conspiratorial underpayments caused a

direct, foreseeable, concrete, and redressable injury to AHS.

        311.    The injuries suffered by AHS as a result of the MultiPlan Cartel are of a type that

the antitrust laws are intended to prevent. Economic losses caused by an agreement among

competitors to restrain trade are a classic example of injuries that the antitrust laws are intended to

prevent.




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        312.    AHS’s injuries flow from MultiPlan’s illegal agreements with the members of the

MultiPlan Cartel.     Were it not for those agreements, AHS would have received higher

reimbursement payments for out-of-network medical services.

        313.    AHS suffered compensable damages as a result of the MultiPlan Cartel. The exact

calculation and amount of those damages will be disclosed in AHS’s expert reports and expert

testimony at trial.

        314.    AHS continues to be harmed by the MultiPlan Cartel’s ongoing horizontal price-

fixing conspiracy.

        315.    AHS exercised reasonable diligence in attempting to ascertain the existence of the

MultiPlan Cartel’s illegal horizontal price-fixing.

        316.    The MultiPlan Cartel fraudulently concealed its horizontal price-fixing from AHS

and the public such that the illegal nature of the scheme only became ascertainable after certain

lawsuits and regulatory filings made relevant information accessible to the public.

        317.    The MultiPlan Cartel’s horizontal price-fixing is a per se violation of Section 1 of

the Sherman Act.

        318.    In the alternative, the MultiPlan Cartel’s horizontal price-fixing violates the rule of

reason under either a quick look or more fulsome analysis because MultiPlan and its competitors

entered into agreements that restrained trade in a properly defined relevant market and there is no

pro-competitive justification for the MultiPlan Cartel.




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                                SECOND CLAIM FOR RELIEF

               HUB-AND-SPOKE AGREEMENT IN RESTRAINT OF TRADE

                          (Section 1 of the Sherman Act, 15 U.S.C. § 1)

                          (Plead in the Alternative to Claims 1 and 3)

        319.    AHS reincorporates and realleges by reference the preceding paragraphs, as though

fully set forth herein.

        320.    In the alternative to AHS’s first cause of action, from at least as early as July 1,

2017 through the present, MultiPlan entered into an illegal “hub-and-spoke” agreement with the

other members of the MultiPlan Cartel to unreasonably restrain interstate trade and commerce in

violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

        321.    MultiPlan is the “hub” of the “hub-and-spoke” conspiracy.           It initiated the

conspiracy, induced the Co-Conspirators to join, facilitates the price-fixing undertaken by the

conspiracy, and profits from that facilitation.

        322.    MultiPlan’s agreements with its health insurance Co-Conspirators to participate in

the MultiPlan Cartel constitute the various “spokes” of the conspiracy.

        323.    There is direct evidence of these agreements, i.e., “spokes,” including (1) the

contracts that the Co-Conspirators signed with MultiPlan to use its claims repricing services, and

(2) communications between MultiPlan and its Co-Conspirators surrounding those contracts.

        324.    As stated above, MultiPlan’s contracts with the Co-Conspirators require it to

reprice claims received by the Co-Conspirators using a methodology common to each member of

the MultiPlan Cartel and in reference to pricing levels mutually adopted by its members. MultiPlan

itself uses the same methodologies and pricing levels when repricing claims it receives through its

own PPO networks.




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       325.    MultiPlan also explicitly recommended prices to its Co-Conspirators that were

consistent with and made in reference to the prices of competitive rivals. MultiPlan’s Co-

Conspirators agreed to accept those price recommendations in full knowledge that other members

of the MultiPlan Cartel had adopted similar prices.

       326.    The “rim” of the “hub-and-spoke” conspiracy is formed by the agreements between

the health insurance Co-Conspirators to adopt MultiPlan as the industry-wide repricer of out-of-

network claims. Voluminous circumstantial evidence supports the existence of these “rim”

agreements, including parallel conduct among members of the MultiPlan Cartel and “plus factors”

indicating that this conduct was the result of an anticompetitive agreement (i.e., high market

concentration, barriers to market entry, ample motive, opportunities to conspire, previous

collusion, and actions against self-interest).

       327.    The injuries suffered by AHS as a result of the MultiPlan Cartel are of a type that

the antitrust laws are intended to prevent. Economic losses caused by an agreement among

competitors to restrain trade are a classic example of injuries that the antitrust laws are intended to

prevent.

       328.    AHS suffered compensable damages as a result of the hub-and-spoke conspiracy

formed by the MultiPlan Cartel. The exact calculation and amount of those damages will be

disclosed in AHS’s expert reports and expert testimony at trial.

       329.    AHS’s injuries flow from the MultiPlan Cartel’s illegal “hub-and-spoke”

conspiracy. Were it not for the conspiracy, AHS would have received higher reimbursement

payments for out-of-network medical services.

       330.    AHS continues to be harmed by the MultiPlan Cartel’s ongoing “hub-and-spoke”

conspiracy.




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        331.    AHS exercised reasonable diligence in attempting to ascertain the existence of the

MultiPlan Cartel’s illegal “hub-and-spoke” conspiracy.

        332.    The MultiPlan Cartel fraudulently concealed its “hub-and-spoke” conspiracy from

AHS and the public such that the illegal nature of the scheme only became ascertainable after

certain lawsuits and regulatory filings made relevant information accessible to the public.

        333.    The MultiPlan Cartel’s “hub-and-spoke” conspiracy constitutes a per se violation

of Section 1 of the Sherman Act.

        334.    In the alternative, the MultiPlan Cartel’s “hub-and-spoke” conspiracy violates the

rule of reason under either a quick look or more fulsome analysis because MultiPlan and its

competitors entered into agreements that restrained trade in a properly defined relevant market and

there is no pro-competitive justification for the MultiPlan Cartel.

                                 THIRD CLAIM FOR RELIEF

                AGREEMENTS TO UNREASONABLY RESTRAIN TRADE

                          (Section 1 of the Sherman Act, 15 U.S.C. § 1)

                          (Plead in the Alternative to Claims 1 and 2)

        335.    AHS reincorporates and realleges by reference the preceding paragraphs, as though

fully set forth herein.

        336.    In the alternative to AHS’s first and second causes of action, from at least as early

as July 1, 2017 through the present, MultiPlan engaged in a continuing agreement with each of the

other members of the MultiPlan Cartel to unreasonably restrain interstate trade and commerce in

violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

        337.    The MultiPlan Cartel has dominant collective market power in the U.S.

Commercial Reimbursement Market. It also has complete power in each relevant submarket,




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where healthcare providers have no choice but to submit their claims for reimbursement to the

specific health insurance company operating the health insurance plan in which the patient is

enrolled.

       338.      MultiPlan and each of the other commercial health insurance networks entered

into anticompetitive agreements that harmed competition in the U.S. Commercial Reimbursement

Market and its submarkets by intentionally suppressing the prices paid to out-of-network

healthcare providers, including AHS.

       339.     The MultiPlan Cartel’s price-fixing agreements are each an unreasonable restraint

on trade in violation of Section 1 of the Sherman Act. MultiPlan and its Co-Conspirators entered

into agreements that used their combined market power to restrain trade in the relevant market and

relevant submarkets without any pro-competitive justification.        Even if there were valid

procompetitive justifications, such justifications could have been reasonably achieved through

means less restrictive of competition.

       340.     AHS’s injuries flow from MultiPlan’s illegal agreements with each member of the

MultiPlan Cartel.     Were it not for those agreements, AHS would have received higher

reimbursement payments for out-of-network medical services.

       341.     AHS suffered compensable damages as a result of the MultiPlan Cartel. The exact

calculation and amount of those damages will be disclosed in AHS’s expert reports and expert

testimony at trial. AHS continues to be harmed by the MultiPlan Cartel’s ongoing vertical price-

fixing conspiracy.




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VIII. Prayer for Relief

       WHEREFORE, AHS demands that judgment be entered in its favor and against MultiPlan,

including for the treble damages, injunctive relief, and declaratory judgement outlined below.

Specifically, AHS seeks an order and judgment from this Court that:

       a)       MultiPlan pay damages to AHS for underpayments made to AHS, lost profits and

revenues of AHS, and other economic harm to AHS as a result of the MultiPlan Cartel in an amount

to be determined at trial and that may be trebled by operation of law;

       b)       MultiPlan pay pre-judgment and post-judgment interest on such monetary relief;

       c)       MultiPlan pay AHS’s costs of bringing this lawsuit, including AHS’s reasonable

attorneys’ fees;

       d)       MultiPlan is permanently enjoined from continuing to operate the MultiPlan Cartel;

       e)       A declaratory judgment that MultiPlan has violated Section 1 of the Sherman Act;

and

       f)       All other relief to which AHS may be entitled at law or equity.




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Dated: August 9, 2023                    VINSON & ELKINS LLP

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                               DEMAND FOR JURY TRIAL

      AHS respectfully requests a jury trial on all causes of action in this matter.

Dated: August 9, 2023                             VINSON & ELKINS LLP

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